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                                                      April 29, 2022

    BY E-MAIL & ECF


    The Honorable Liam O’Grady
    Judge, U.S. District Court
    United States District Court for the District of Virginia,
    sitting by designation in the District of Maryland
    401 Courthouse Square
    Alexandria, VA 22314


                    Re: United States v. Ravenell (1:19-cr-00449)


    Dear Judge O’Grady:

           We write in anticipation of Kenneth Ravenell’s sentencing hearing scheduled for May 13,
    2022. As the Court is aware, Mr. Ravenell was found guilty of one count of money laundering
    conspiracy (Count 2) on December 28, 2021, and was acquitted of all the other counts brought by
    the government (Counts 1, 3, 4, 5, 6, and 7). Verdict Form (Dkt. No. 490).

            This verdict came after a three-week trial at the end of an aggressive investigation spanning
    over seven years. During that investigation, the DOJ, the IRS, and the DEA conducted scores of
    interviews of nearly everyone professionally associated with Mr. Ravenell, including clients, co-
    defendants, lawyers, and other professionals, who provided legal services for Richard Byrd and
    his associates. They issued countless subpoenas to financial institutions and other businesses.
    Despite this years-long, deeply thorough investigation, the government lost six of seven counts at
    trial and produced a paucity of evidence that Mr. Ravenell committed any crime or engaged in any
    improper conduct.

            The jury’s acquittals are direct proof of what evidence the jury did and did not credit.
    Notably, the jury’s acquittals indicate that they wholly discredited the testimony of Byrd, Jerome
    Castle, and all of the other members of Byrd’s drug trafficking organization (the “Byrd DTO”). If
    the jury had believed any of these witnesses, they would have convicted Mr. Ravenell of the
    narcotics conspiracy, at a minimum. In light of how thoroughly discredited Byrd’s and Castle’s
    testimonies were at trial, it is clear that the jury agreed with the government’s argument that they
    could convict Mr. Ravenell of Count 2 based solely on the testimony of Leonaldo Harris and
    Avarietta Bailey, even if they thoroughly discredited everything Byrd and his associates said. See
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Trial Tr. 81:9-17, Dec. 23, 2021 (AUSA Wise, Rebuttal Summation) (“That satisfies Count Two,
the money laundering conspiracy and you can convict on the basis of Harris and Bailey alone.”).
As the government admitted, Harris’s and Bailey’s conduct was wholly separate from the Byrd
DTO. PSR ¶¶ 7, 32 (Dkt. No. 537).

         The Pre-Sentence Report (“PSR”) completed in this matter calculates a Guidelines range
of life imprisonment (total offense level 43 at criminal history category I). PSR ¶ 80 (Dkt. No.
537). This calculation exceeds the statutory maximum sentence of 10 years allowed by the count
of conviction. See 18 U.S.C. § 1956(h) (“Any person who conspires to commit any offense defined
in this section or section 1957 shall be subject to the same penalties as those prescribed for the
offense the commission of which was the object of the conspiracy”); 18 U.S.C. § 1957(b)(1)
(limiting punishment for convictions under § 1957 to “not more than ten years”). U.S. Probation
has recommended a sentence of 240 months based on its incorrect reading of these statutes. See
PSR ¶¶ 79-80. As of the date of this filing, the government has not provided a sentencing
recommendation.

        We respectfully request that the Court sentence Mr. Ravenell to a term of two years of
supervised probation and an applicable period of supervised release. Such a punishment is
consistent with Mr. Ravenell’s limited unlawful conduct (as reflected by the jury’s rejection of
nearly all of the government’s theories), accords with the lack of prosecution and limited sentences
imposed on others accused of similar misconduct, and acknowledges Mr. Ravenell’s exemplary,
law-abiding life before and after the conduct at issue here.

I.     The Court May Not Impose a Term of Imprisonment Greater Than 10 Years.

       As a matter of law, the Court may not impose a sentence greater than 10 years (120 months)
of imprisonment. In the absence of a special verdict, which the government failed to seek here,
the Court must deem Mr. Ravenell to have been convicted of conspiring to violate the alleged
conspiratorial object carrying the lowest maximum sentence—here, 18 U.S.C. § 1957.

       Count Two charged Mr. Ravenell with conspiring to launder money under three potential
conspiratorial objects: (1) by intending “to promote the carrying on of specified unlawful activity,”
under § 1956(a)(1)(A)(i); (2) by knowing the transaction was designed, in whole or in part, “to
conceal or disguise the nature, the location, the source, the ownership, or the control of the
proceeds of specified unlawful activity,” under § 1956(a)(1)(B)(i); and/or (3) by engaging or
attempting to engage “in a monetary transaction in criminally derived property of a value greater
than $10,000 and [] derived from specified unlawful activity.” See Second Superseding Indictment
at 16-17 (Dkt. No. 281).

        In the absence of a special verdict identifying which of the objects was the basis of the
jury’s verdict, the Court is required to deem Mr. Ravenell to have been convicted of the least
burdensome of the three conspiratorial objects—i.e., the object with the shortest maximum
sentence. See United States v. Quicksey, 525 F.2d 337, 340-41 (4th Cir. 1975); United States v.
Rhynes, 196 F.3d 207, 238 (4th Cir. 1999), opinion vacated in part on reh’g en banc on unrelated
grounds, 218 F.3d 310 (4th Cir. 2000), and on reh’g in part on unrelated grounds, 218 F.3d 310
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(4th Cir. 2000); 1 United States v. Barnes, 158 F.3d 662, 672 (2d Cir. 1998). This result is required
“[b]ecause the object of a conspiracy is an element of the offense, [and] the Fifth and Sixth
Amendments [therefore] require a jury to determine all facts necessary to establish the existence
of the object of the conspiracy, and the government must prove it beyond a reasonable doubt.”
United States v. Bush, 70 F.3d 557, 561 (10th Cir. 1995).

        It is, of course, “the government’s responsibility to seek special verdicts.” Rhynes, 196
F.3d at 238 (citing Barnes, 158 F.3d at 672); see also Brown v. United States, 299 F.2d 438, 441
n.3 (D.C. Cir. 1962), cert. denied, 370 U.S. 946 (1962). The government’s failure to do so here
prevents the Court from determining under which conspiratorial object the jury convicted Mr.
Ravenell. Accordingly, the Court is “prohibited . . . from imposing a sentence in excess of the
statutory maximum for the least-punished object on which the conspiracy conviction could have
been based.” Rhynes, 196 F.3d at 238; United States v. Jones, 17 Fed. Appx. 240, 244-45 (4th Cir.
2001) (remanded for resentencing, where government conceded that term of imprisonment could
not exceed 10 years based on general verdict and sentencing maximum for “least-punished
object”); see also United States v. Davis, 208 F.3d 210 (4th Cir. 2000) (Table) (government
required to choose between Court resentencing defendant or government re-trying defendant,
where general verdict was issued for conspiracy based on substances that carried different
maximum sentences and defendant received sentence that exceeded lowest maximum sentence).

        The Court must, therefore, deem Mr. Ravenell to have been convicted of conspiring to
violate § 1957, which carries with it the lowest maximum sentence of the government’s alleged
conspiratorial objects—a maximum sentence of 10 years.

II.    The Court Is Otherwise Free to Sentence Mr. Ravenell to a Fair Sentence.

       The Court is free to depart from the once non-negotiable parameters of the United States
Sentencing Guidelines (hereinafter the “Guidelines” or “U.S.S.G.”). Gall v. United States, 552
U.S. 38, 49 (2007). Of course, judges must consider the advisory Guidelines range in crafting a
sentence. The Court, however, “may not presume that the Guidelines range is reasonable . . . [and]
must make an individualized assessment based on the facts presented.” Id. at 49-50 (citing Rita v.
United States, 551 U.S. 338, 351 (2007)); see also United States v. Raby, 575 F.3d 376, 380 (4th
Cir. 2009) (“The Sentencing Guidelines are advisory, and sentencing courts have discretion to
sentence defendants within the statutory range, regardless of whether the sentence falls within the
Guidelines range or without.”).

        Thus, after giving both parties an opportunity to argue for whatever sentence they deem
appropriate, the Court should consider all of the sentencing factors outlined in 18 U.S.C. § 3553(a)
to determine whether they support the sentence requested by each party. Ultimately, a sentencing
court must never disregard the legislative mandate that “[18 U.S.C. § 3553] . . . contains an
overarching provision instructing district courts to impose a sentence sufficient, but not greater



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       The portions of the Rhynes cited herein “remain in full force and effect.” See United States
v. Rhynes, 218 F.3d 310 (4th Cir. 2000).
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than necessary to accomplish the goals of sentencing.” Kimbrough v. United States, 552 U.S. 85,
101 (2007) (emphasis added) (internal quotation marks omitted).

III.   The Jury Discredited the Government’s Byrd DTO Allegations.

        The jury convicted Mr. Ravenell on the sole count of money laundering conspiracy, while
acquitting him of all of the six additional counts, including RICO conspiracy, drug trafficking
conspiracy, conspiracy to commit offenses against the United States, obstructing an official
proceeding, and two counts of falsification of records. See Verdict Form (Dkt. No. 490). The
jury’s wholesale rejection of Mr. Ravenell’s alleged participation in the Byrd narcotics conspiracy
directly affects the conduct the Court should consider for sentencing. In acquitting Mr. Ravenell
of Count 3, the jury necessarily found that the government did not prove that Mr. Ravenell
participated in the Byrd DTO. The only way to convict Mr. Ravenell of money laundering
conspiracy that is consistent with the acquittal on Count 3 was for the jury to credit the testimony
of Harris and Bailey, as the government encouraged in rebuttal argument. See Trial Tr. 81:9-17,
Dec. 23, 2021 (AUSA Wise, Rebuttal Summation). Had the jury credited any of the government’s
evidence about Mr. Ravenell supposedly laundering money for the Byrd DTO, it would have found
Mr. Ravenell guilty of narcotics conspiracy as well.

        Although the Court of course may consider acquitted conduct, it may do so only after
finding the conduct has been proved by a preponderance of the evidence. See United States v.
Carter, 300 F.3d 415, 426 (4th Cir. 2002); United States v. Perry, 560 F.3d 246, 258-59 (4th Cir.
2009). In evaluating whether the government’s evidence was proven by a preponderance of the
evidence, the Court must synthesize the evidence in a manner that accounts for conflicting
evidence and gaps in the government’s presentation. See United States v. Willis, 14 F.4th 170, 189
(2d Cir. 2021) (citing Doe v. Menefee, 391 F.3d 147, 164 (2d Cir. 2004)) (reversed and remanded
for resentencing and reconsideration where court erred in failing to account for the gaps in the
government’s evidentiary presentation of acquitted conduct). The Court also must determine
whether the government’s evidence was plausible based on the totality of evidence presented. Id.
(noting that “[a]dditional record evidence render[ed] [certain] testimony implausible”). Here,
there is no way to account for the significant gaps and conflicts in the government’s evidence in a
manner that would support use of that evidence for sentencing purposes.

       A.      The Jury Discredited All of the Byrd DTO Allegations Regarding Mr.
               Ravenell and the Court Should as Well.

       The reason for the jury’s wholesale rejection of the government’s evidence is obvious to
all who attended the trial—the government’s witnesses and the stories they were telling were not
believable. For example, Byrd admitted on the witness stand that he regularly commits perjury
during court proceedings in an attempt to manipulate the courts into serving his interest in being
released from prison. He admitted that he repeatedly lied to this Court and to the Fourth Circuit
Court of Appeals. In light of this, there is not a sufficient record for the Court to credit his
testimony for sentencing or to find that the government proved by a preponderance of the evidence
any of the allegations Byrd made against Mr. Ravenell. See, e.g., Trial Tr. 135:1-24, Dec. 10,
2021 (Byrd & White) (White: “And that was a lie told right here in this courthouse to a judge
[Judge Bennett]?” Byrd: “Yes.” [. . .] White: “You lied to a judge in this courthouse about being
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innocent, right?” Byrd: “Yes.” White: “After you had pled guilty, right?” Byrd: “Yes.” White:
“And at that point you thought it was in your interest to lie to him rather than tell the truth, right?”
Byrd: “Yes.”); id. at 193:10-194:3 (Byrd & White) (White: “So you lied to the Fourth Circuit
there, didn’t you?” Byrd: “Yes.” [. . .] White: “And you were willing to lie to get out of [your
guilty plea] to a court, right?” Byrd: “Yes.”).

       Byrd admitted at trial that he would say anything to get out of jail—including committing
perjury. This is why the jury knew that it could not credit any of his testimony about Mr. Ravenell,
and why this Court cannot do so now. The government offered Byrd a way out of prison in
exchange for his testimony, but because of his extensive history of perjury and the outlandish and
uncorroborated tales he told from the witness stand, every charge against Mr. Ravenell that
depended upon Byrd’s testimony resulted in an acquittal. 2

         The lack of credibility of the government’s witnesses was not just on display in Byrd’s
admissions of perjury—it materially affected the soundness of the case that the government
presented throughout this trial. Its presentation of evidence was full of gaps and conflicts that the
government was unable to fill or reconcile at trial, and which this Court cannot now account for
or fill in synthesizing the evidence for sentencing. See Willis, 14 F.4th at 189.

        In his testimony, Byrd made numerous specific allegations that were not refuted by any
other witnesses and yet were still rejected by the jury because they were simply not credible. For
example, the government sponsored Byrd’s testimony that he met with Mr. Ravenell and Sean
Gordon, and the three agreed to have Gordon visit a member of Byrd’s DTO in prison (Daniel
Williams a/k/a Thurston Lindsey) and attempt to get Williams to make and sign a false statement
that he had not been involved in narcotics trafficking. See Trial Tr. 199:19-201:4, Dec. 8, 2021
(Byrd & Wise). The government also had Williams testify in an attempt to corroborate Byrd’s
story. See Trial Tr. 53:22-56:21, Dec. 15, 2021 (Williams & AUSA Hines). This story was offered
in support of the RICO conspiracy charge in Count 1 and in direct support of Count 4, which
alleged that Gordon and Mr. Ravenell had conspired to obstruct justice in seeking this false
statement. See Second Superseding Indictment at Count One ¶¶ 34-35, Count Four ¶¶ 14-15, 76;
see also Verdict Form (Dkt. No. 490). The defense produced documentary evidence that Gordon
never met Byrd prior to his visit with Williams, and the jury ultimately rejected all of this testimony
as to the offenses, acquitting Mr. Ravenell and Gordon of Counts 1 and 4. In doing so, the jury
necessarily rejected the credibility of the government’s witnesses connected to the Byrd DTO.


2
        The jury also heard testimony and evidence as to what Byrd said about Mr. Ravenell when
Byrd had not yet started cooperating and had no incentive to lie to escape the remainder of his 26-
year prison sentence. In these candid, pre-sentence communications, Byrd unequivocally
maintained that Mr. Ravenell was innocent of any criminal wrongdoing. For example, in an
unsolicited letter Byrd wrote in April 2015, Byrd maintained that “Ravenell did nothing illegal,
period, point blank. The man is a [sic] of the highest integrity, and as [sic] the utmost regards for
the law” and is “probable [sic] the most prominent, winningest defense trial lawyer, a consummate
professional, man of the highest moral and professional standards bar none. The best attorney in
my humble eye this side of the mid-atlantic period.” See Exh. 1 at 2-3 (Gov’t Trial Exh. 225); see
also Trial Tr. 86:5-9, 92:17-21, Dec. 10, 2021 (Byrd & White).
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       As other examples, Byrd testified repeatedly that he invested $2 million into the MGM
National Harbor Resort & Casino (“MGM Casino”). See, e.g., Trial Tr. 215:17-219:25, Dec. 8,
2021 (Byrd & Wise). Yet, Special Agent Sequeira testified that there was absolutely no evidence
whatsoever to corroborate Byrd’s claim about this supposed investment. See Trial Tr. 116:13-17,
Dec. 16, 2021 (Agent Sequeira & White) (White: “In all of the documents that you have reviewed
from all of those sources, have you ever seen a single document that indicates that Mr. Byrd has
an investment in the MGM Casino?” Sequeira: “I have not.”).

         Byrd and his lieutenant Castle also each testified that they paid Mr. Ravenell “millions” of
dollars in cash as part of the Byrd DTO. See, e.g., Trial Tr. 62:12-22, Dec. 10, 2021 (Byrd &
White) (Byrd: “Mr. Ravenell got millions of dollars from me.” White: “In cash?” Byrd: “Yes.”);
Trial Tr. 99:6-20, Dec. 13, 2021 (Castle & AUSA Hines) (Castle estimating the total amount of
money he provided to Mr. Ravenell over the course of five years as “in the millions”). Yet again,
Special Agent Sequeira testified that despite a very extensive investigation looking for any
evidence to support these allegations, none was ever found. Indeed, despite a seven-plus-year
investigation that included searches of Mr. Ravenell’s law firms, bank accounts, his wife’s bank
accounts, and his laptop, the government could not find a single dollar of these supposed “millions”
in cash. See Trial Tr. 108:2-6, Dec. 16, 2021 (Agent Sequeira & White) (White: “Did you ever
find millions of dollars in any account of Mr. Ravenell’s anywhere in the world?” Sequeira: “No,
I have not seen it.” White: “Did you ever find millions of dollars buried somewhere?” Sequeira:
“No.”). Indeed, the government could not even find a single asset that could potentially account
for where this money could have gone. See id. at 108:7-25 (Agent Sequeira & White) (White:
“Did you ever find evidence that Mr. Ravenell owns yachts?” Sequeira: “No.” White: “Did you
ever find evidence that Mr. Ravenell owns villas somewhere?” Sequeira: “No.” White: “Did you
ever find evidence that Mr. Ravenell has substantial sums in off-shore accounts?” Sequeira: “No.”
[. . .] White: “And everybody was looking for this. They didn’t find any of it, did they?” Sequeira:
“Correct.”). 3

       Castle’s trial testimony fares no better, as he repeatedly found himself unable to explain
away inconsistencies and holes in his stories. For example, Castle presented an ever-shifting and
evolving story regarding the time span supposedly covered by his Byrd DTO ledger, the names

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         The catalogue of unbelievable statements Byrd made while testifying at trial are too long
to list here, but another example is worth mentioning. Byrd testified about a recorded conversation
with his sister (Andrea King), one day after he met with AUSA Jim Warwick, in which he told her
“essentially” that the government made a deal with him so he could “buy [his] way out of prison.”
He then testified that his statements to King were false because his references to “money” in the
recording were “code” for “truth.” See Trial Tr. 175:2-25, Dec. 10, 2021 (Byrd & White). When
confronted on the stand about Byrd’s similar recorded statements to his ex-wife (Stacie Stewart)
about Byrd giving “double digit millions” to the government in exchange for an early release from
prison, Byrd conceded he was referencing having to forfeit various financial investments to the
government, but then backtracked and testified he was not promised an early release for forfeiting
these monies, alleging that these “double digit millions” were still just “code” for telling the
“truth.” See id. at 179:5-181:25 (Byrd & White). There is, of course, no support for these obvious
lies by Byrd.
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used to refer to Mr. Ravenell, and how Castle was supposedly “protecting” Mr. Ravenell while
simultaneously alleging to the government that Mr. Ravenell was an active member of the Byrd
DTO. See Trial Tr. 199:5-204:23, Dec. 13, 2021 (Castle & Outlaw). When confronted with the
lack of cell phone record evidence to corroborate Castle’s allegations that he texted with Mr.
Ravenell two to three times per week to set up meetings to deliver cash, he again shifted his story
on the stand. See id. at 215:2-217:17 (Castle & Outlaw). Other government witnesses presented
evidence that deeply discredited the tales Castle spun while testifying, including Mr. Ravenell’s
assistant, Deb Ness, who testified that she never saw any of Castle’s supposed 30 visits to the
Murphy Firm to deliver bags full of cash despite sitting right outside Mr. Ravenell’s office, whose
glass door was “always open.” See id. at 90:9-91:4 (Castle & Outlaw), 270:2-9 (Ness & Outlaw),
278:12-20 (Ness & Outlaw).

        Such clear deficiencies and holes in the government’s case cannot be overlooked by the
Court at sentencing. They bear directly on whether the government actually proved by a
preponderance of the evidence the allegations of acquitted conduct relied upon in the PSR for
sentencing. See Willis, 14 F.4th at 189; see also Menefee, 391 F.3d at 164. There is no way to
reconcile the gaps and inconsistencies in the Byrd DTO evidence in a manner that would constitute
proof by a preponderance of the evidence. Accordingly, none of the evidence presented to support
the allegations regarding the Byrd DTO should be credited for purposes of sentencing.

       B.      The Jury Only Credited the Harris and Bailey Allegations.

        The jury did, however, hear evidence of a money laundering conspiracy entirely separate
from the Byrd DTO involving Harris and Bailey (the “Harris DTO”). The only logical conclusion
from the jury’s verdicts is that it convicted Mr. Ravenell for his acceptance of criminal defense
legal fees that were the proceeds of the Harris DTO. 4 This conclusion is the only way to reconcile
the jury’s verdict. The jury clearly discredited most of the offense conduct cited in the PSR, which
is heavily based on the government’s theory that Mr. Ravenell was involved in or assisted the Byrd
DTO. We encourage the Court to do the same.

        Harris—through Bailey and family members—paid Mr. Ravenell approximately $187,000
in criminal defense legal fees. See Exh. 2 (Gov’t Trial Exh. 92a); Trial Tr. 184:21-25, Dec. 16,
2021 (Harris & AUSA Hines); id. at 270:8-13 (Bailey & White) (White: “I think you said that you
paid somewhere between $175,000 and $200,000 for this representation on direct examination,
correct?” Bailey: “Correct.” White: “So it wasn’t 300 or $350,000, right?” Bailey: “No.”). The
criminal defense of Harris was the only thing that money was used for. There has never been any
allegation or proof that Mr. Ravenell used the money provided by Harris and Bailey to facilitate
Harris’s drug trafficking activity, or that Mr. Ravenell laundered this money for the purpose of
returning “cleaned” money to Harris. At trial, the government presented evidence and attempted
to prove solely that Mr. Ravenell accepted criminal defense legal fees that were the proceeds of
drug trafficking. See generally id. at 184:21-187:8 (Harris & AUSA Hines); id. at 239:25-240:1

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        As explained in Mr. Ravenell’s Motion for New Trial, this government theory is legally
infirm, as the acceptance of criminally derived legal fees necessary to preserve a person’s right to
representation as guaranteed by the Sixth Amendment is not a crime pursuant to 18 U.S.C. § 1957.
See Mem. of Law in Supp. of Mot. for New Trial at 16-25 (Dkt. No. 542-1).
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(Bailey & AUSA Hines) (Hines: “What were you paying [Mr. Ravenell]?” Bailey: “I was making
payments towards Leo, Leo’s fees[.]”).

       Notably, Mr. Ravenell also did not represent Harris alone. Mr. Ravenell’s co-counsel in
representing (and receiving fees from) Harris was Paula Xinis, then his law partner at the Murphy
Firm and now a United States District Court Judge for the District of Maryland. See Entry of
Appearance in a Criminal Case, United States v. Harris, No. 8:13-cr-0202 (D. Md. June 21, 2013)
(Dkt. No. 31). The legal fees from Harris were for services provided by Mr. Ravenell, Judge Xinis,
and those who assisted them. In fact, Harris ultimately fired Mr. Ravenell from the representation,
undermining any possibility that Mr. Ravenell was assisting Harris’s DTO through his criminal
defense legal representation. See Mot. for Leave to Withdraw Appearance as Counsel for
Leonaldo Harris ¶ 2, United States v. Harris, No. 8:13-cr-0202 (D. Md. Nov. 13, 2014) (Dkt. No.
138) (“Mr. Harris discharged the undersigned [Mr. Ravenell] as counsel in his case”).

         While the burden of proof at trial (beyond a reasonable doubt) is greater than the burden of
proof at sentencing (preponderance of the evidence), it is clear that the government failed to meet
this lesser standard of proof applicable here. See United States v. Tessina, 2017 WL 6345400, *3
(W.D.N.Y. Dec. 12, 2017). Only two of the government’s witnesses, Byrd and Jerome Castle,
testified that Mr. Ravenell knowingly participated in the Byrd DTO. Ultimately, the jury
discredited the vast majority of the government’s evidence in finding Mr. Ravenell not guilty of
narcotics conspiracy. This is not a case where the government fell slightly short of its burden at
trial but presented sufficient evidence for sentencing. The government—despite a full-throated
effort at trial—wholly failed to meet any burden of proof with respect to the Byrd DTO allegations
against Mr. Ravenell.

IV.    Guidelines According to the Jury’s Verdict.

        The PSR in this case—based on the government’s version of the facts that were largely
discredited at trial and rejected by the jury—calculates Mr. Ravenell’s presumptive Guideline
range to be life imprisonment (which exceeds the maximum term allowed under any of the
improperly cited statutes in the PSR), based on a final offense level of 43 at criminal history
category I. Mr. Ravenell’s summary objections to this calculation and the remainder of the PSR
are on file with the Court. See PSR Obj. (Dkt. No. 532); Am. PSR Obj. (Dkt. No. 540). For the
reasons stated in those objections, which are summarized below, and to be further explained at
sentencing, the PSR Guidelines calculation—recommending a 20-year sentence that is itself
prohibited as a matter of law—is unsupported by law or fact.

       A.      PSR Base Offense Level Calculation Based on the Value of Laundered Funds.

       The PSR asserts that Mr. Ravenell’s base offense level is 24 because the alleged money
laundering conspiracy resulted in $1,800,000 in laundered funds. PSR ¶ 40 (citing U.S.S.G.
§ 2S1.1(a)(2)(I)). This finding is inconsistent with the jury’s verdict and is unsupported by the
evidence presented at trial.

       “The government must establish the amount of loss by a preponderance of evidence.”
United States v. Shephard, 892 F.3d 666, 673 (4th Cir. 2018) (citing United States v. Catone, 769
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F.3d 866, 876 (4th Cir. 2014)). The court must also “make a ‘reasonable estimate’ of the loss.”
Id. (citing U.S.S.G. § 2B1.1 cmt. n.3(C)). The PSR fails to indicate how the amount of $1,800,000
in allegedly money laundered funds was calculated, 5 but it presumably is based upon the amounts
received by the Murphy Firm from Byrd, which the government asserted at trial totaled
$1,816,075.91 based on the Byrd escrow ledgers. See Exh. 3 (Gov’t 1006 Summary, “Byrd
Related Ledgers”).

        But both Byrd and Special Agent Sequeira testified at trial that Byrd paid Mr. Ravenell’s
legal fees with drug proceeds as well as legitimate money, and there was no way to differentiate
between the two based on the evidence uncovered in the government’s investigation. See Trial Tr.
176:10-20, Dec. 8, 2021 (Byrd & AUSA Wise) (Wise: “[W]hat funds did you use to fund the
parties?” Byrd: “It was funded in part by drug proceeds.” Wise: “And what, if anything, did you
do with the cash generated by the parties?” Byrd: “I deposited some and paid bills with others.”
Wise: “Did you mix any other funds with the revenue generated by the parties?” Byrd: “Yes.”
Wise: “And what was the source of those funds?” Byrd: “Marijuana sales.”); Trial Tr. 105:6-
106:25, Dec. 16, 2021 (Agent Sequeira & White) (Sequeira: “[W]e couldn’t differentiate between
legitimate and non-legitimate. [. . .] White: “[Y]ou didn’t have any way of determining how much
of that money, the cash that went in was from this cash heavy LOC Marketing business and how
much of it was from the cash heavy drug proceeds, right? [. . .] Sequeira: “Specifically, no.”).

        Throughout trial, the government introduced multiple witnesses in an attempt to prove that
Mr. Ravenell knowingly accepted and laundered drug proceeds derived from the Byrd DTO and
from the unrelated Harris DTO. The amounts associated with the Byrd DTO should not be
considered by this Court because the jury appropriately rejected all of the testimony purporting to
establish that Mr. Ravenell was criminally complicit with Byrd and his cohorts, and because all of
the witnesses providing that testimony were unreliable and not credible. The jury found the
government’s proof at trial regarding the Byrd DTO allegations to be unpersuasive, resulting in
acquittals as to every count that depended on them, and this Court, for the same reasons, should
find this conduct not proven by a preponderance of the evidence. The government has failed to
establish the PSR’s unsupported loss amount at all, much less by a preponderance of the evidence.

        Even if the Court disagrees with the jury’s verdict and finds that the Byrd money laundering
allegations were proven by a preponderance of the evidence, the amounts from the Byrd escrow
ledgers at the Murphy Firm cannot support a loss amount calculation under U.S.S.G. § 2S1.1
because the witnesses testified that legitimate funds were commingled with any drug proceeds
before they were deposited into the Murphy Firm. See e.g., Trial Tr. 77:2-78:1, Dec. 9, 2021 (Byrd
& White). Application Note 3(B)—which allows the court to considered total commingled funds
for purposes of calculating a loss amount—”only applies where a transaction . . . results in the
commingling of legitimately derived funds with criminally derived funds,” not when the amounts


5
       The PSR also fails to account for the fact that approximately 67% of the money received
by the Murphy Firm was provided by Byrd for his criminal legal defense and in the exercise of his
Sixth Amendment rights, which conduct is excluded from money laundering prosecution under 18
U.S.C. § 1957. See Exh. 4, (Gov’t Trial Exh. 14); Exh. 5 (Gov’t 1006 Summary, “Byrd Criminal
Matter Ledger”); Exh. 3 (Gov’t 1006 Summary, “Byrd Related Ledgers”).
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were “previously commingled.” United States v. Chao Fan Xu, 673 F. App’x 616, 619 (9th Cir.
2016) (citing U.S.S.G. § 2S1.1 cmt. n.3(B)) (internal quotation marks omitted). Because the
commingled amounts may not be used and all of the witnesses at trial testified that there was no
way to determine how much money paid to Mr. Ravenell and the Murphy Firm was drug proceeds,
the Court cannot “make a reasonable estimate of the loss” based on the Byrd legal fees paid to the
Murphy Firm. See U.S.S.G. § 2B1.1 cmt. n.3(C).

       To the extent the Court believes it can make a reasonable estimate of the loss based on
some estimate of the portion of money paid by Byrd to the Murphy Firm that was drug proceeds,
this amount would be $59,000, which is 10% of the approximately $590,000 paid to the Murphy
Firm which was not used solely for criminal defense legal fees in exercise of Byrd’s Sixth
Amendment rights. See Exh. 4 (Gov’t Trial Exh. 14); Exh. 5 (Gov’t 1006 Summary, “Byrd
Criminal Matter Ledger”); Exh. 3 (Gov’t 1006 Summary, “Byrd Related Ledgers”); see also
discussion supra note 5. At trial, the government presented a secret recording in which Byrd made
a prior statement confirming that 80-90% of the money deposited in LOC Marketing was
legitimately earned, and accordingly, only a very small portion of the money he paid to Mr.
Ravenell could possibly be estimated to be drug proceeds. See Exh. 6 (USG Trial Exh. 161), Tr.
89:24-90:1 (Byrd: “There [w]as a lot of legitimate money deposited in LOC bank accounts?
Absolutely. The majority of it[,] 80 percent, 90 percent of it.”).

        These statements were corroborated by Byrd’s testimony at trial that he earned “millions”
(and possibly “tens of millions”) in legitimate money from his extremely successful entertainment
promotions business. See Trial Tr. 77:16-78:12, Dec. 9, 2021 (Byrd & White) (White: “Did you
have real events?” Byrd: “Yes.” White: “Did they make real money?” Byrd: “Yes.” [. . .] White:
“You made millions of dollars in real money, right?” Byrd: “Yes.” White: “Tens of millions?”
Byrd: “Possibly.” White: “So a very successful business even without what you’re calling the
wash, right?” Byrd: “Yes.”); id. at 88:8-12 (Byrd & White) (White: “I want to know what real
money came in.” Byrd: “Yeah, millions of dollars came in[.]” White: “And millions of dollars in
profit was made, right?” Byrd: “Yes.”); see also Trial Tr. 96:23-25, Dec. 14, 2021 (Stewart &
White) (White: “[A]s far as you can tell, Mr. Byrd was a very successful event promoter?”
Stewart: “Yes.”); id. 160:17-25 (H. Byrd & White) (White: “[Y]ou know your brother had a very
successful events business?” H. Byrd: “Yeah, the All Star events.” [. . .] White: “They were
impressive big events, right?” H. Byrd: “Right.”); Trial Tr. 217:22-23, Dec. 15, 2021 (King-Chang
& White) (White: “[Byrd] had a very successful marketing business?” King-Chang: “Yes.”).

        In sentencing here, the Court should rely only on the conduct that formed the basis for
conviction here—the payments made by Bailey on behalf of Harris toward the end of his
representation, that were paid solely for the purpose of criminal defense legal fees. These amounts
are not properly considered monetary transactions for the purposes of sustaining a money
laundering conviction (meaning that the loss amount is properly zero) because they were paid
solely for criminal defense legal fees. 6 If the Court nonetheless believes they can sustain a


6
       For the sake of this calculation only, the defense assumes that this amount might properly
support a conviction for money laundering conspiracy. As explained in Mr. Ravenell’s Motion
for New Trial, however, any drug proceeds used to pay criminal defense legal fees—which account
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conviction, the proper loss amount is $55,000, which is the amount of payments Bailey made
during and after the meeting in the D.C. restaurant, which is the earliest point at which she credibly
could have told Mr. Ravenell the payments were drug proceeds. See generally Trial Tr. 16:5-
19:22, Dec. 17, 2021 (Bailey & White). Under § 2B1.1, this $55,000 amount warrants a 6-level
increase on top of the base offense level of 8. See U.S.S.G. §§ 2S1.1(a)(2), 2B1.1(b)(1)(D).
       Based on the foregoing, Mr. Ravenell’s correct base offense level is 14.

       B.      Knowledge that Laundered Funds Were Drug Proceeds.

        The PSR recommends a 6-level increase is warranted pursuant to § 2S1.1(b)(1)(i) because
“the defendant knew or believed that any of the laundered funds were the proceeds of, or were
intended to promote (i) an offense involving the manufacture, importation, or distribution of a
controlled substance.” PSR ¶ 41. The Court should reject this recommendation and not impose
this increase.

        The only evidence credited by the jury at trial was that Mr. Ravenell was aware of the illicit
source of funds he received for representing Harris in his criminal legal defense. “[A]ny
transaction necessary to preserve a person’s right to representation as guaranteed by the sixth
amendment to the Constitution,” however, cannot support a money laundering conviction, see 18
U.S.C. § 1957(f)(1), so Mr. Ravenell’s alleged knowledge of these funds’ illegitimate source
cannot support the enhancement under § 2S1.1(b)(1)(i).

       C.      Business of Laundering Funds.

        The PSR asserts that a 4-level increase per § 2S1.1(b)(2)(C) and Application Note 4 are
warranted because “the defendant regularly engaged in laundering funds during an extended period
of time (2009 to 2014) from multiple sources and generated a substantial amount of revenue in
return for laundering funds.” PSR ¶ 42. The Court should reject this claim and not impose any
increase under this subsection, as the government failed to prove at trial that Mr. Ravenell was “in
the business of laundering funds.” U.S.S.G. § 2S1.1(b)(2)(C), n.4.

        Under Application Note 4 of § 2S1.1(b)(2)(C), the guideline reveals a non-exhaustive list
of factors that “may indicate the defendant was in the business of laundering funds:

               (i) The defendant regularly engaged in laundering funds.

               (ii) The defendant engaged in laundering funds during an extended
               period of time.

               (iii) The defendant engaged in laundering funds from multiple
               sources.


for all of the payments made on behalf of Harris—cannot support a conviction here and,
accordingly, cannot support a loss amount for purposes of sentencing. See Mem. of Law in Supp.
of Mot. for New Trial at 16-25 (Dkt. No. 542-1).
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               (iv) The defendant generated a substantial amount of revenue in
               return for laundering funds.

               (v) At the time the defendant committed the instant offense, the
               defendant had one or more prior convictions for an offense under
               18 U.S.C. § 1956 or § 1957, or under 31 U.S.C. § 5313, § 5314,
               § 5316, § 5324, or § 5326, or any similar offense under state law, or
               an attempt or conspiracy to commit any such federal or state offense.
               A conviction taken into account under subsection (b)(2)(C) is not
               excluded from consideration of whether that conviction receives
               criminal history points pursuant to Chapter Four, Part A (Criminal
               History).

               (vi) During the course of an undercover government investigation,
               the defendant made statements that the defendant engaged in any of
               the conduct described in subdivisions (i) through (iv).

U.S.S.G. § 2S1.1(b)(2)(C).

         First, there is no proof that Mr. Ravenell regularly engaged in laundering funds. Mr.
Ravenell was acquitted of both the RICO conspiracy count that charged him with using the Murphy
Firm to launder money and the narcotics conspiracy count. See Second Superseding Indictment
(Dkt. No. 281); Verdict Form (Dkt. No. 490). Had the government proven its allegations related
to the Byrd DTO money laundering at trial, Mr. Ravenell would have been convicted not solely of
money laundering conspiracy, but of the charged RICO and narcotics conspiracies as well. Thus,
the only money laundering allegations credited by the jury were related to the funds received on
behalf of Harris. The Byrd DTO-allegations were rendered wholly implausible and unproven in
light of the totality of evidence presented, including inconsistencies and gaps in the government’s
evidence and significant impeachment of the government’s witnesses. See discussion supra Part
III; see also Willis, 14 F.4th at 189.

        The money Mr. Ravenell received from Harris and Bailey, however, was used solely for
criminal defense legal fees, and each payment was proportionate to the work Mr. Ravenell and his
team performed for Harris’s legal defense. See Exh. 2 (Gov’t Trial Exh. 92a); Trial Tr. 184:21-
25, Dec. 16, 2021 (Harris & AUSA Hines); id. at 270:8-13 (Bailey & White). These payments
cannot support a money laundering conviction as a matter of law. See Mem. of Law in Supp. of
Motion for New Trial at 16-17 (Dkt. No. 542-1). And, even if they could, the government
presented evidence that Mr. Ravenell only had knowledge that a limited number of payments were
the proceeds of drug trafficking, thereby refuting Mr. Ravenell having “regularly engaged” in
money laundering. See Trial Tr. 240:25-241:14, Dec. 16, 2021 (Bailey & Wise) (Bailey testifying
that she developed a “rapport” with Mr. Ravenell over time before telling him that payments were
drug proceeds); id. at 283:20-284:2 (Bailey & White) (Bailey testifying to only having met with
Mr. Ravenell “about three or four times”).

       As explained above, there is no allegation or proof that Mr. Ravenell used the money
provided on Harris’s behalf to facilitate the Harris DTO or that Mr. Ravenell ever laundered the
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funds and returned “cleaned” money to Harris. Mr. Ravenell was not in the “business” of
laundering money for Harris; indeed, there are no allegations that he played any role at all in the
Harris DTO. Eventually, Harris fired Mr. Ravenell as his attorney. See Mot. for Leave to
Withdraw Appearance as Counsel for Leonaldo Harris ¶ 2, United States v. Harris, No. 8:13-cr-
0202 (D. Md. Nov. 13, 2014) (Dkt. No. 138).

        Second, the PSR incorrectly finds that Mr. Ravenell laundered funds from 2009 through
2014. The PSR’s statement that Mr. Ravenell participated in this criminal conduct starting in 2009
is a clear misrepresentation of the evidence presented at trial. The government did not introduce
any evidence at trial that Mr. Ravenell was involved in any money laundering-related conduct
starting in 2009. Mr. Ravenell’s alleged conduct in 2009 was—according to the government’s
own witnesses—solely related to Mr. Ravenell’s representation of a woman named Najah Stewart
whose luggage was seized at the Baltimore airport. See generally Trial Tr. 100:4-103:25, Dec. 14,
2021 (Stewart & White); id. at 139:25-145:23 (Officer Shoul & AUSA Ray). Neither Stewart nor
former Officer Russell Shoul testified as to any unlawful conduct by anyone, including Mr.
Ravenell, in connection with these events in 2009. Moreover, neither testified as to any conduct
related to money laundering. Indeed, Stewart herself said she believed the money she was
transporting was legitimate and would have conveyed the same to Mr. Ravenell.
See Trial Tr. 103:16-25, Dec. 14, 2021 (Stewart & White) (White: “[A]t the time in any event, you
didn’t believe it was the proceeds of drug trafficking activity because you didn’t know that Mr.
Byrd or Mr. Castle were drug dealers, right?” Stewart: “Correct.” White: “And you would have
told Mr. Ravenell that whatever was in there was legitimate, right?” Stewart: “Correct, that was
my understanding.” White: “Because that was actually your understanding at the time, right?”
Stewart: “Yes.”); see also generally id. at 147:2-18 (Officer Shoul & White). Though the Second
Superseding Indictment introduces this 2009 “starting” year, the government did not prove at trial
any illegal conduct, let alone money laundering, by Mr. Ravenell beginning in 2009.

        The jury’s verdict indicates they disbelieved the testimony of Byrd and his associates but
convicted Mr. Ravenell based on the testimony of Harris and Bailey. Mr. Ravenell did not begin
representing Harris until mid-2013, and solely used the funds provided by Bailey for Harris’s legal
fees. Even if the jury had convicted on Byrd’s testimony, Byrd was not a client of the Murphy
Firm until 2011, and thus no funds could have been laundered by Mr. Ravenell before then. See
Trial Tr. 133:15-21, Dec. 8, 2021 (Byrd & AUSA Wise).

        Mr. Ravenell did not engage in laundering funds from multiple sources. The only funds
Mr. Ravenell was convicted of laundering came from Bailey on behalf of Harris. Mr. Ravenell
solely acted in a defense-attorney capacity for Harris, only coordinating with Bailey to receive his
required legal fees for representation. Trial Tr. 239:9-24, Dec. 16, 2021 (Bailey & AUSA Hines).
Because the government’s evidence failed to prove that Mr. Ravenell was allegedly laundering
funds from multiple sources, this factor does not support an enhancement.

       Mr. Ravenell also did not generate substantial—or any—amounts of revenue in return for
laundering funds. Mr. Ravenell served as legal counsel for Harris (and Byrd) and his compensation
was for legal fees, not money laundering. There was no testimony presented at trial that Mr.
Ravenell received additional fees for “money laundering” from Harris or Bailey. Because the
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government did not prove that Mr. Ravenell received any payments apart from fees for providing
legal services—from either Harris or Bailey—this enhancement should not apply.

         The final two factors—a prior conviction under certain specified statutes and incriminating
statements made by a defendant during the course of an undercover investigation—have no
applicability to Mr. Ravenell. Mr. Ravenell has no prior convictions and was known only for his
stellar reputation as a Baltimore criminal-defense attorney. See Exhs. 10-87 (Character Letters).
And, despite literally hundreds of undercover audio and video recordings made by the government
as part of its years-long investigation, Mr. Ravenell never made a single incriminatory statement
during any of these recordings regarding the alleged criminal conduct. Neither of these final two
factors is applicable to Mr. Ravenell.

       Because this test adheres to a totality of the circumstances and none of the factors here
demonstrate that Mr. Ravenell was engaged in “the business of laundering funds,” the
enhancement should not apply. See United States v. Aguasvivas-Castillo, 668 F.3d 7, 14 (1st Cir.
2012).

       D.      Sophisticated Laundering.

       The PSR asserts that a 2-level increase per § 2S1.1(b)(3) and Application Note 5 are
warranted because:

               the laundering involved “two or more levels (i.e., layering) of
               transactions, transportation, transfers, or transmissions involving
               criminally derived funds that were intended to appear legitimate,”
               and “offshore financial accounts.” The drug proceeds, in cash, were
               transported from the United States to Jamaica. Those funds were
               then deposited in the bank account of a Jamaican law firm which in
               turn wired them to a U.S. based real estate broker, who converted
               them into a cashier’s check which was given to a Ugandan diplomat,
               who then wired the funds to MFM, which were then wired out to the
               mother of one of Byrd’s children to repay her for money she had
               advanced to MFM on Byrd’s behalf.

PSR ¶ 43. The Court should reject this assertion and not impose an increase.

        Mr. Ravenell did not engage in any “sophisticated means” with respect to the Okullo
transaction described in Paragraph 43 of the PSR. Byrd, whose testimony was rejected by the jury,
was the only witness to testify to Mr. Ravenell’s knowledge of and involvement in this transaction,
which allegedly involved an unrelated third party and an offshore Jamaican account. See generally
Trial Tr. 207:24-209:1, Dec. 8, 2021 (Byrd & Wise).

        The government presented no additional evidence at trial that Mr. Ravenell was involved
in or aware of any of the supposed “layering” of transactions. Rather, the government presented
evidence of only the single Okullo transaction involving Mr. Ravenell. The jury’s rejection of
Byrd’s testimony reflects the government’s failure to prove that Mr. Ravenell was involved in or
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had knowledge of any of the supposed transaction “layering” that could possibly warrant
application of the enhancement under § 2S1.1(b)(3) and Application Note 5. Therefore, the 2-
level enhancement should not apply.

       E.      Aggravating Role as Organizer or Leader of Criminal Activity.

        The PSR asserts that a 4-level increase per § 3B1.1(a) and Application Notes 2 and 4 are
warranted because “[t]he defendant exercised management over the property, assets or activities
of a criminal organization, specifically the laundering proceeds from a drug trafficking
organization, beginning in 2011 and continuing until 2014. The defendant was an organizer or
leader of a criminal activity, the money laundering conspiracy, and was otherwise extensive. [sic]”
PSR ¶ 45. The Court should reject this assertion and not impose an increase as none of the factors
required for its application apply to Mr. Ravenell.

        Application Note 4 lays out a seven-factor test used to determine a defendant’s leadership
or organizational role in the alleged criminal conduct. See United States v. Sayles, 296 F.3d 219,
224 (4th Cir. 2002). The factors are: “[1] the exercise of decision making authority, [2] the nature
of participation in the commission of the offense, [3] the recruitment of accomplices, [4] the
claimed right to a larger share of the fruits of the crime, [5] the degree of participation in planning
or organizing the offense, [6] the nature and scope of the illegal activity, and [7] the degree of
control and authority exercised over others.” Id. (citing U.S.S.G. § 3B1.1(a)). None of these
factors support a finding that Mr. Ravenell was an organizer or leader of criminal activity under
the Guidelines.

        First, Mr. Ravenell did not exercise any decision-making authority in either the Byrd or
Harris DTOs. Multiple witnesses who were part of Byrd’s DTO testified that Byrd—and not Mr.
Ravenell—was the leader who exercised decision-making authority over the DTO. See e.g., Trial
Tr. 243:3-8, Dec. 13, 2021 (Drummond & Outlaw) (Outlaw: “[Byrd] was the boss, correct?”
Drummond: “Correct.” Outlaw: “You didn’t answer to Mr. Ravenell, correct?” Drummond:
“Correct.”); Trial Tr. 160:8-10, Dec. 14, 2021 (H. Byrd & White) (White: “So in terms of the drug
activity, your brother, Richard, was your boss?” H. Byrd: “Yeah.”); Trial Tr. 58:3-12, Dec. 15,
2021 (Williams & Outlaw) (Outlaw: “Richard Byrd was the boss of that [DTO], correct?”
Williams: “Yes, sir.” Outlaw: “He was the one who made the decisions, correct?” Williams:
“Yes, sir.”); id. at 130:12-14 (Gilbert & Outlaw) (Outlaw: “You understood that Frank [a/k/a Byrd]
was the boss of the whole situation, correct?” Gilbert: “Yes. He was my go man for this
company.”).

       Based on this evidence—sponsored by the government—there can be no credible argument
made that Mr. Ravenell exercised any authority over anyone in the DTO. On cross-examination,
Byrd’s lieutenant, Castle, agreed with the statement that “beginning in 2009 and continuing
through April of 2014, Richard Byrd was the leader and organizer of a drug distribution network
which acquired large quantities of cocaine and marijuana from sources of supply from California
and Arizona, and distributed those drugs in Maryland, Ohio and Pennsylvania.” See Trial Tr.
156:4-12, Dec. 13, 2021 (Outlaw & Castle) (Outlaw: “And you agree with that statement, don’t
you?” Castle: “Yes.”). Castle conceded that it was Byrd who decided what drugs were distributed
by the DTO, where those drugs would be distributed, and who would become members of the
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DTO. See Trial Tr. 156:22-157:9, Dec. 13, 2021 (Outlaw & Castle). And it was Byrd and Castle
who decided where the money generated by the Byrd DTO would ultimately go. See Trial Tr.
157:10-12, Dec. 13, 2021 (Outlaw & Castle). Castle alleged that Byrd merely “sometimes . . . got
advice from [Mr. Ravenell].” See Trial Tr. 157:13, Dec. 13, 2021 (Outlaw & Castle).

         On examination, multiple members of the Byrd DTO testified that they had either never
met, heard from, or received any orders from Mr. Ravenell, including Richard Drummond, Jeffrey
Gilbert, Joseph Byrd, and Daniel Williams. See e.g., Trial Tr. 239:4-240:25, Dec. 13, 2021
(Outlaw & Drummond) (Drummond testifying he did not know Mr. Ravenell at all, never had a
direct or face-to-face conversation with Mr. Ravenell, had never been introduced to him, and that
everything Drummond testified about on direct examination as to Mr. Ravenell was information
provided to him by Byrd); Trial Tr. 137:9-20, Dec. 15, 2021 (Gilbert & Outlaw) (Gilbert testifying
that he did not know Mr. Ravenell, never heard of Mr. Ravenell, and was never instructed and had
no way to contact Mr. Ravenell); Trial Tr. 15:6-16, 18:16, Dec. 15, 2021 (J. Byrd & White) (J.
Byrd testifying he was not instructed to call Mr. Ravenell if arrested, did not have Mr. Ravenell’s
phone number, and “never even heard [Mr. Ravenell’s] voice”); Trial Tr. 73:13-25, Dec. 15, 2021
(Williams & Outlaw) (Williams testifying that he was never instructed to contact Mr. Ravenell,
did not have Mr. Ravenell’s phone number, never spoke with Mr. Ravenell before Williams’s
arrest, and repeatedly referring to Mr. Ravenell as “Kevin” during testimony).

       The government has not proven that Mr. Ravenell had “decision-making authority” as to
the Byrd DTO. Indeed, the government’s own witnesses proved the opposite at trial. And no
evidence was ever presented that Mr. Ravenell had any decision-making authority or played any
role whatsoever in the Harris DTO.

        Moreover, as the government is well aware, a witness it declined to call at trial confessed
to and was convicted of being the person who orchestrated Byrd’s entire money laundering
scheme. James Bowie, a former attorney who worked for and was convicted of being involved in
the Byrd DTO, was the actual mastermind behind Byrd’s money laundering activities. See
Judgment, United States v. Bowie, No. 1:14-cr-00186-005 (Apr. 16, 2019) (Dkt. No. 479); see also
Exh. 7, ¶¶ 33-34 (Oct. 26, 2015 Dep’t of Treasury Mem. of Interview with James Bowie) (“Bowie
came on board LOC in 2012 and designed it to be a sophisticated money laundering scheme.
Bowie designed a system where the money going into LOC would be complicated to define what
was legitimate money and what was drug proceeds.”) (emphasis added).

        The nature of Mr. Ravenell’s alleged participation in the commission of the offense—as
actually proven at trial—was limited to Mr. Ravenell’s provision of legal services. He solely acted
in the capacity of retained counsel for his clients’ legal needs, and the government failed to prove
any conduct beyond this at trial. See generally Trial Tr. 184:21-187:8, Dec. 16, 2021 (Harris &
AUSA Hines); id. at 239:25-240:1 (Bailey & AUSA Hines); see also discussion supra Part III.
Indeed, the PSR cites as the supposed loss amount only those amounts that Mr. Ravenell received
in legal fees for his work for Byrd. See PSR ¶¶ 13, 40; see also Exh. 3 (Gov’t 1006 Summary,
“Byrd Related Ledgers”).

      Third, Mr. Ravenell did not participate in recruiting accomplices for the alleged criminal
conduct. The government claims that Mr. Ravenell hired attorneys and an accountant “in an
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attempt to legitimize the activities by tying cash drug deposits to events.” PSR ¶ 47. None of
these individuals were called to testify at trial, and they were never proven to be “accomplices” of
the Byrd DTO or Mr. Ravenell. They were never even alleged to have engaged in any criminal
activity whatsoever, as an “accomplice” necessarily must.

        Fourth, the government did not prove at trial that Mr. Ravenell had a right to a “larger”
share in the fruits of the crimes committed by the Byrd and Harris DTOs. Byrd was the only
witness who testified that he was not the leader of his own DTO and that Mr. Ravenell was actually
the highest paid from Byrd’s criminal activities. See Trial Tr. 69:14-70:6, Dec. 10, 2021 (White
& Byrd) (White: “And you don’t consider yourself the leader of that organization.” Byrd: “I
consider myself—I took a plea based upon the fact of what the law says I am, but as far as how
the organization run, that’s not how it runs.” [. . .] White: “Who made the most money from the
company?” Byrd: “Probably Mr. Castle and Mr. Ravenell.” [. . .] White: “Mr. Ravenell made
more money from the company than you did?” Byrd: “Yes.”). At trial, however, the government
could not prove any payments whatsoever that Mr. Ravenell supposedly received from Byrd or
Harris that were not specifically related to their legal representations. The government failed to
prove that Mr. Ravenell profited in any way—apart from standard legal fees—from his former
clients’ drug-related activities. As the defense stated at the outset of trial, “where is the cash?”
See e.g., Trial Tr. 8:12, Dec. 8, 2021 (Outlaw Opening). The government was never able to locate
or identify any additional, unlawful profit apart from standard legal fees—let alone a “larger” share
of these profits. See Trial Tr. 107:11-108:25, 113:7-114:8, Dec. 16, 2021 (Agent Sequeira &
White).

         Fifth, the government failed to prove that Mr. Ravenell planned or organized any criminal
activities. The jury discredited Byrd and his associates, and per the government’s own record of
its interview with Bowie, Bowie was actually the orchestrator of Byrd’s sophisticated money
laundering scheme. Exh. 7, ¶¶ 33-34. Mr. Ravenell’s relationship with Bailey and Harris was
purely for legal representation purposes, and therefore, neither planning nor organizing any
supposed money laundering was involved in this attorney-client relationship.

       Sixth, the nature and the scope of Mr. Ravenell’s conduct was limited to his acceptance of
money in connection with representing Byrd and Harris in various legal matters. The government
wholly failed to prove Mr. Ravenell served any other role, as evidenced by his blanket acquittals
on every other charge, including the allegation that he served any role whatsoever in a narcotics
conspiracy.

        Finally, as explained above regarding the decision-making authority factor, the government
did not prove at trial that Mr. Ravenell exercised control or authority over others involved in either
DTO. Mr. Ravenell was not an organizer or leader in the alleged criminal activities of the Byrd
and Harris DTOs—indeed, the government could not prove he was even involved in either
narcotics conspiracy. See Verdict Form at 1 (Dkt. No. 490) (acquitting Mr. Ravenell of Count 3,
Narcotics Conspiracy).

       Even if the Court found Mr. Ravenell acted in any capacity under this Guideline by
managing “property, assets or activities,” it does not warrant a 4-level increase. The Fourth Circuit
has held that to be eligible for the 4-level adjustment under this enhancement, “the defendant must
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have been the organizer or leader of one or more participants as opposed to merely exercising
management responsibility over the property, assets, or activities of a criminal organization.”
United States v. Bracamontes, 464 Fed. Appx. 157, 159 (4th Cir. 2012) (quoting United States v.
Cameron, 573 F.3d 179, 184 (4th Cir. 2009) (emphasis added). As explained above, the
government did not prove at trial that Mr. Ravenell was an organizer or leader of other
“participants” in the Byrd or Harris DTOs. The government proved only that Mr. Ravenell
received money for Byrd’s and Harris’s legal fees (which were apparently derived, in part, from
drug proceeds), and therefore, a 4-level increase under § 3B1.1(a) is unwarranted.

       F.      Abuse of Position of Trust or Use of Special Skill.

       The PSR asserts that a 2-level increase per § 3B1.3 and Application Notes 1 and 4 is
warranted because:

               The defendant abused a position of public or private trust, or used a
               special skill, in a manner that significantly facilitated the
               commission or concealment of the offense. The defendant used his
               specialized skill as an attorney at his law firm, where he was able to
               move the drug trafficking money through the firm’s attorney trust
               account at his own discretion and without having to obtain
               permission from any other member of the firm. The defendant’s
               status as an attorney and a partner at the firm is a specialized skill
               that is ordinarily subject to significantly less supervision[.]

PSR ¶ 46. The Court should decline to impose any increase under this enhancement because the
PSR’s findings are based on significant (and inexcusable) misrepresentations of facts. Mr.
Ravenell was not subject to less supervision, nor did he utilize any special skill with respect to the
alleged conduct.

        Although Mr. Ravenell was an attorney and partner at the Murphy Firm, there were
multiple people who oversaw the transfer of funds at the firm. Heather Mangus (now known as
Mangus Ferrare)—a former accountant manager for the Murphy firm—testified at trial that she
was in charge of tracking money across client accounts. See Trial Tr. 281:25-282:10, Dec. 13,
2021 (Mangus & AUSA Wise). Additionally, Special Agent Sequeira testified on cross-
examination that Beth Wybolt, who was Mangus’s boss and fellow accounting manager, had
signature authority over the firm’s corporate accounts. See Trial Tr. 92:16-93:4, Dec. 16, 2021
(Sequeira & White). Other members of the firm had explicit oversight over Mr. Ravenell (and his
fellow partners at the firm). Mr. Ravenell did not have sole discretion or power to transfer or move
client funds on his own. The government presented no evidence at trial that he did, and any
representation to the contrary in the PSR now is a clear misrepresentation of the facts. Therefore,
the facts presented in Paragraph 46 are erroneous and unsupported by the evidence presented at
trial, which confirmed that Mr. Ravenell was not “subject to significantly less supervision” based
on his “status as an attorney and a partner at the firm.”

       Moreover, the government presented no evidence at trial that Mr. Ravenell used his skills
as an attorney to help facilitate any money laundering. At most, the government presented
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evidence and proved that Mr. Ravenell accepted money in exchange for his services—much like
any other service provider would. The fact that Mr. Ravenell is an attorney, and thus was accepting
fees for his legal services, does not support the unfounded allegation that he used any “specialized
skill as an attorney” in connection with the count of conviction. It is not enough for Mr. Ravenell
to have possessed a special skill; he must have used it “in a manner that significantly facilitated
the commission or concealment of the offense.” See U.S.S.G. § 3B1.3. Here, the government
made no such showing at trial.

        Mr. Ravenell’s “status” as an attorney is not sufficient to account for the “special skill”
enhancement. For the “special skill” enhancement to apply, the crime must require more than that
the defendant merely possess legal training and knowledge. See generally United States v.
Weisberg, 297 Fed.Appx. 513 (6th Cir. 2008). In Weisberg, the defendant—an Ohio attorney—
pled guilty to tax evasion for failing to pay income taxes over a set of years and utilizing his client’s
IOLTA account to hide his assets. Id. at 513. The court refused to impose the “special skill”
enhancement, and the government appealed this portion of the sentence, arguing that the court
erred because—as the Presentence Investigation Report stated—”[t]he defendant is a lawyer, and
therefore possesses a special skill that requires substantial education and licensing. The defendant
used this special skill to facilitate the instant offense.” Id. at 514.

         The Sixth Circuit rejected the government’s argument, explaining that the “special skill”
enhancement requires legal knowledge “beyond simply having access to an IOLTA account.” Id.
at 516. The crime the defendant in Weisberg was convicted of—which included hiding assets in
his client’s IOLTA account—did not require legal training or knowledge, but could have occurred
using any account, including one not associated with a lawyer’s trust/IOLTA account. Id. at 516-
17. Similarly, here, the alleged conduct in Paragraph 46 of Mr. Ravenell’s PSR does not require
legal training or knowledge. Even if the conduct were true, as explained by multiple witness at
trial, attorneys at the Murphy Firm did not have sole discretion to move client funds; rather, this
responsibility was entrusted to the firm’s accountants and other personnel. See e.g., Trial Tr.
282:7-10, Dec. 13, 2021 (Mangus & AUSA Wise) (Mangus tracked monies through client
accounts); Trial Tr. 67:12-16, Dec. 14, 2021 (Mangus & White) (White: “On wire transactions,
did you have the authority to approve wire transactions or did that have to go through Beth
[Wybolt]?” Mangus: “I could set them up and [Wybolt] could approve them and then vice versa.”);
Trial Tr. 92:12-93:2, Dec. 16, 2021 (Agent Sequeira & White) (White: “So his secretary at this
period at the Murphy Firm also had signature authority for this corporate account?” Sequeira:
“That’s what it states here.” [. . .] White: “And [Beth Wybolt] also had signature authority on this
corporate account . . .?” Sequeria: “Yes.”). And as explained in Weisberg, moving money through
an IOLTA/trust account does not require special legal training; the funds here could have been
moved through any type of account, not solely an IOLTA account. See Weisberg, 297 Fed.Appx.
at 516-17. Accordingly, the “special skill” 2-level enhancement is inapplicable to Mr. Ravenell.

        G.      Obstructing or Impeding the Administration of Justice.

        The PSR asserts that a 2-level increase per § 3C1.1 is warranted because:

                The defendant willfully obstructed or impeded, or attempted to
                obstruct or impede, the administration of justice with respect to the
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               investigation, prosecution, or sentencing of the instant offense of
               conviction, and the obstructive conduct related to the defendant’s
               offense of conviction and any relevant conduct; or a closely related
               offense. The defendant created false records for LOC Marketing in
               an attempt to conceal drug proceed transactions. After LOC
               Marketing received a federal grand jury subpoena in 2014, the
               defendant continued to obstruct justice by hiring other attorneys and
               an accountant in an attempt to legitimize the activities by tying cash
               drug deposits to events[.]

PSR ¶ 47. This enhancement is not relevant or supported by the record and is not applicable here.

        The government failed to prove any of the allegations stated in Paragraph 47 of the PSR—
indeed, they were disputed by the government’s own key witness. The jury acquitted Mr. Ravenell
of the obstruction-related allegations charged here, see Verdict Form (Dkt. No. 490), expressly
rejecting the allegations asserted in Paragraph 47. The Court should not impose an enhancement
based on evidence the jury reasonably found to be not credible.

        Although Mr. Ravenell represented Byrd in his business ventures involving LOC
Marketing, the government did not allege at trial that Mr. Ravenell hired other attorneys or an
accountant to legitimize criminal activity or that Mr. Ravenell created any “false records” (and
indeed, he was acquitted of all charges related to the creation of false records). Rather, the
government presented evidence that Mr. Ravenell worked with other attorneys and an accountant
hired by Byrd to compile an accurate record of Byrd’s entertainment business. See Trial Tr. 95:9-
97:23, Dec. 9, 2021 (Byrd & White). Byrd, on the stand, confirmed that the records assembled by
Mr. Ravenell were real and that they documented real events that his entertainment business helped
to promote. See Trial Tr. 77:16-17, Dec. 9, 2021 (Byrd & White) (White: “Did you have real
events?” Byrd: “Yes.”); id. at 100:12-18 (White: “And these are all documents that you got
together for Mr. Barsky; is that correct?” Byrd: “Not me specifically, but, you know, it was a team
effort.” [. . .] White: “And are these all legitimate events?” Byrd: “Yes.”); id. at 102:9-13 (White:
“You can flip through. There’s about 600 pages in it. But if you can flip through a few more, take
a look at them and see if these are to the best of your knowledge, the documents that you and others
of Lok [sic] Marketing provided to Mr. Barsky.” Byrd: “Yes.”).

        Critically, the jury’s verdict is limited to allegations pertaining to the money paid on behalf
of Harris for his criminal defense legal fees. This enhancement has no applicability as to any of
the allegations pertaining to the alleged Harris money laundering conspiracy. The government
asserted no allegations and did not present any proof that Mr. Ravenell engaged in any obstructive
conduct for the benefit of Harris or his DTO.

       The Court should reject this suggested 2-level enhancement; the government should not be
permitted to make up for its deficient showing at trial by now asserting unsupported, unproven,
and discredited allegations as a basis for sentencing enhancements.
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       H.      Final Offense Level.

       Mr. Ravenell’s true final offense level is, at most, 14:

            Base offense level (§ 2S1.1):                            8

            Loss amount $55,000 (§ 2B1.1(b)(1)(D)):               +6

            Victim-Related Adjustment                             +0 7

            Chapter Four Enhancement                              +0 8

            Total Offense Level:                                   14

       I.      Criminal History Category.

       Mr. Ravenell has no objection or challenge to the PSR’s determination that he has zero (0)
criminal history points, and he is therefore in criminal history category I. PSR ¶ 54.

       J.      Presumptive Guidelines Range.

        For the reasons explained above, Mr. Ravenell’s true presumptive Guidelines range is, at
most, 15-21 months imprisonment (offense level 14 at criminal history category I), not life as
calculated by the PSR, or 240 months as contemplated by the PSR.

V.     A Probation Sentence Fully Satisfies the Requirements of 18 U.S.C. § 3553(a).

       As discussed in this section, the sentencing factors that the Court must consider pursuant
to 18 U.S.C. § 3553(a) weigh heavily in favor of Mr. Ravenell receiving a non-carceral sentence
of probation.

       A.      Nature, Circumstances, Seriousness of the Offense (§ 3553(a)(1) & (2)(A)).

       As explained earlier, the verdict reflects the jury’s complete rejection of the allegations and
charges connected to Byrd and his criminal organization. The jury found that Mr. Ravenell’s
criminal conduct was limited, narrow, and confined to his receipt of drug proceeds from Bailey
belonging to Harris as compensation for the legitimate legal services that Mr. Ravenell provided
to Harris. With this understanding of the jury’s verdict, a sentence of probation would
appropriately reflect the nature, circumstances, and seriousness of Mr. Ravenell’s conduct
underlying the single count of conviction.


7
        Mr. Ravenell has no objection or challenge to the PSR’s determination that no victim-
related adjustments are applicable. PSR ¶ 44.
8
        Mr. Ravenell has no objection or challenge to the PSR’s determination that no Chapter
Four enhancements are applicable. PSR ¶ 49.
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        The limited and narrow nature of the jury’s verdict is critical to weighing these § 3553(a)
factors. The jury did not find that Mr. Ravenell helped facilitate Harris’s drug trafficking, or that
he served as in-house counsel to the Harris DTO (as the government alleged in regards to the Byrd
DTO). Indeed, the jury convicted Mr. Ravenell not for any services or assistance that he provided
Harris, but rather for his failure to insist that the payments he received for his legal services come
from a lawful source. A sentence of incarceration is not needed to reflect the nature and
circumstances of this limited criminal conduct found by the jury.

       B.      History and Characteristics of Mr. Ravenell (§ 3553(a)(1)).

       Mr. Ravenell is an American success story. He rose from impoverished and meager
circumstances through hard-work, diligence, and dedication to the transformational power of
education, to reach the highest level of the legal profession and to be recognized as a leader in his
profession and his community.

        Born in 1959, Mr. Ravenell is the eighth of twelve children born to Francis and Daisey Bell
Ravenell (now deceased) living in Cross, South Carolina. PSR ¶ 58. To describe the financial
status and well-being of the family as impoverished and challenging is to politely understate the
reality. Like many other black Americans living in the South during the times of Mr. Ravenell’s
birth and childhood, the Ravenell family were sharecroppers—i.e., tenant farmers who tended
farmland owned by another under crop-sharing and rent arrangements that exploited the
sharecroppers’ labor for the benefit of the landowner. 9 For the Ravenells, sharecropping truly was
a family affair. Every member of the family, including Mr. Ravenell, did the hard “back breaking”
work of sharecropping farming. PSR ¶ 58; see also Exh. 20 (Letter of Doris Ravenell-Brown
explaining how the family “planted all kinds of crops, worked the land, gardened, and ate off the
land.”); Exh. 29 (Letter of Cealie Ravenell-Williams) (“Momma and Daddy made Ken and all of
us work in the cotton, cucumber, corn, and peas fields to make a living. It was hard work; but we
worked together.”). This was very common at the time. 10

        The Ravenells were no exception to the cage of poverty built by sharecropping, even with
Francis Ravenell also working as a minister and laborer. PSR ¶ 58; see Exh. 20 (Letter of Doris
Ravenell Brown) (“we lived well below the poverty line”). The family lived in a small and very
humble home with no running water (see photo below) and an outhouse as a bathroom. Exh. 29
(Letter of Cealie Ravenell-Williams). The large Ravenell family often slept in shifts due to
cramped confines of their home. Id.




9
        See Leon Dash, “Children of the Old South,” Washington Post, Jan. 29, 1989, available at:
https://www.washingtonpost.com/archive/opinions/1989/01/29/children-of-the-old-
south/bf89fd8a-a4ea-4a7a-9216-7cda6245385e/ (explaining how “[s]harecroppers were the least
independent, the most desperate and the most vulnerable of the black tenant farmers”).
10
        See id. (explaining how “[d]uring the hard times and the good times, the survival or
prosperity of the tenant farmer was tied directly to the labor of his children [on the farm]”).
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                                                                            While the cage of poverty
                                                                       limited the Ravenells’ lives in
                                                                       many ways, it did not limit
                                                                       Francis’s and Daisy’s aspirations
                                                                       for their children. Even though
                                                                       they had limited education
                                                                       themselves, Francis and Daisy
                                                                       Ravenell       understood      and
                                                                       appreciated that education was
                                                                       the path to a better life for their
                                                                       children. PSR ¶ 58. As parents,
                                                                       they insisted that their children
                                                                       appreciate and value education,
                                                                       and     they      imposed     high
                                                                       educational expectations on their
                                                                       children. Id. Put best by Mr.
                                                                       Ravenell’s sister, their parents
                                                                       continually stressed that “the way
                                                                       to a better life was through a life
                                                                       surrendered to Christ coupled
Figure 1 - Photo of Mr. Ravenell's childhood home in South Carolina.   with a good education.” Exh. 20
                                                                       (Letter of Doris         Ravenell-
Brown).

        The Ravenell parents’ approach and commitment to education bore fruit. Most of the
Ravenell children earned college degrees and are employed as school teachers, corporate
executives, statisticians, mental health counselor, and engineers. PSR ¶ 59. Among this talented
and accomplished group of siblings, Mr. Ravenell is a stand-out. After graduating from Cross
High School as valedictorian in 1977, Mr. Ravenell attended South Carolina State University as a
recipient of the first Presidential Scholarship awarded by the school. PSR ¶¶ 68-69. He graduated
with a B.A. in Political Science, earned a grade point average of 3.44, and he was a constant
presence on the school’s Dean List. PSR ¶ 69. After college, Kenneth attended the University of
Maryland School of Law. PSR ¶ 70. He graduated law school with Juris Doctorate in 1984. Id.
He is the only lawyer among the siblings.

       Upon graduating from law school, Mr. Ravenell set out to begin his legal career and start
a family. He started his legal career as an assistant state attorney with the Office of the State’s
Attorney for Baltimore City. For three-and-a-half years he served the Baltimore community as a
prosecutor.

       It was during this early time in his legal career that Mr. Ravenell began to build and grow
his own family. He married his first wife (Regina Ravenell) right after graduating law school.
Regina brought two children—Erica and Dana (not fathered by Mr. Ravenell)—to the marriage.
To ensure that Erica and Dana felt secure and a part of his growing family, Mr. Ravenell adopted
them. PSR ¶ 60. Despite Regina and Mr. Ravenell divorcing in 2008, Mr. Ravenell still maintains
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a fatherly relationship with both Erica and Dana. PSR ¶ 60. According to Erica, Mr. Ravenell “is
the only father I’ve known for most of my life.” Exh. 32 (Letter of Erica Jones). Prior to the
divorce, Regina and Mr. Ravenell had two children together: Christia (a corporate attorney at
Amazon and graduate of Georgetown Law School), and Kenneth Jr. (a law firm administrative
assistant). PSR ¶ 60.

       In 1988, Mr. Ravenell left public service and joined the Baltimore-based law firm of
Schulman, Treem, Kaminkow, and Gilden. Mr. Ravenell was so successful at the firm that he was
promoted to named partner, which transformed the firm’s name to Schulman, Treem, Kaminkow,
Gilden, and Ravenell. PSR ¶ 75. In 2008, Mr. Ravenell joined the Murphy Firm, under an
arrangement that allowed Mr. Ravenell to maintain a separate firm of his own (Ravenell Law).
PSR ¶¶ 73-74. As a result of the FBI warrant raid on the Murphy Firm in 2014, Mr. Ravenell’s
arrangement with the Murphy Firm became untenable, so he completely separated Ravenell Law
from the Murphy Firm. PSR ¶ 73.

        The impact and importance of Mr. Ravenell’s legal career to date is nearly impossible to
quantify or adequately summarize here. He is a recognized and respected fixture of the Maryland
legal community having represented hundreds of clients in criminal and civil matters before the
state and federal courts in the state. He has appeared and argued before the United States Supreme
Court, numerous times before the United States Court of Appeals for the Fourth Circuit, the
Maryland Court of Appeals, and the Maryland Court of Special Appeals. But Mr. Ravenell’s
impact and influence is not contained solely to Maryland. He has represented clients and handled
federal and state cases in New York, Virginia, California, North Carolina, Arizona, Georgia,
Vermont, Pennsylvania, Nebraska, West Virginia, St. Thomas, and St. Croix.

        This sentencing memorandum does not provide enough space to discuss the broad range
of clients and cases that comprise of the fabric of Mr. Ravenell’s legal career. But the following
case highlights provide sufficient insight into the stellar lawyering, zealous advocacy, and
professionalism that Mr. Ravenell has served his clients, the interests of justice, and the rule of
law.

       State of Maryland v. Walter Lomax (Baltimore City Circuit Court).

         Mr. Ravenell was instrumental in obtaining a finding of actual innocence for Walter
Lomax, who had spent nearly 40 years in prison for crimes, including murder, that he did not
commit. Lomax’s private firm attorneys (Crowell & Moring LLP) had filed a petition for a
declaration of actual innocence on Lomax’s behalf. The attorneys approached Mr. Ravenell to
assist their efforts to reverse Lomax’s conviction and have him declared innocent. Mr. Ravenell
agreed to help and to do so pro bono. Mr. Ravenell assistance proved invaluable in securing
Lomax’s finding of actual innocence and clearing his name for crimes he did not commit. Through
multiple meetings and conversations, Mr. Ravenell convinced the state attorney’s office to join the
defense’s innocence petition. What remained was to convince the judge overseeing the matter to
grant the innocence petition. Mr. Ravenell argued the petition on Lomax’s behalf. After hearing
Mr. Ravenell’s argument, the judge granted Lomax’s petition for actual innocence. The grant of
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the motion erased the wrongful convictions from Lomax’s record, and allowed Lomax to obtain a
settlement from the State of Maryland for his wrongful incarceration. 11

       Freed from the shackles of a wrongful conviction, Lomax became an advocate for the
wrongfully convicted. His advocacy contributed to the Maryland General Assembly passing
Senate Bill 14: Compensation to Individual Erroneously Convicted, Sentenced, and Confined, also
known as the Walter Lomax Act, in April 2021. Prior to the law, only exonerees who had been
pardoned or had a petition of innocence supported by the prosecution were eligible for
compensation for their wrongful conviction. The Walter Lomax Act expanded the eligibility for
compensation for more exonerees. 12 A character letter from Lomax further explaining the life-
changing impact Mr. Ravenell had on his life is attached to this memorandum as Exhibit 13.

       State of Maryland v. Melvin Russell Jr. (Baltimore City Circuit Court).

        In 2015, Melvin Russell, then 28 years old, was charged with first and second degree
murder after he stabbed his roommate to death. There was no dispute that Russell committed the
act that caused the victim’s death.

       At the time, Russell’s father was a Lieutenant Colonel with the Baltimore City Police
Department. 13 Lt. Colonel Russell had known Mr. Ravenell for many years, mostly as an
adversary in court. Lt. Colonel Russell was also well aware that federal agents had raided the
Murphy Firm in 2014, and that Mr. Ravenell was the target of a federal criminal investigation.
Yet, he still asked Mr. Ravenell to represent his son in the murder case. Mr. Ravenell agreed to
take on the representation.

        Mr. Ravenell learned that Russell had been diagnosed with a mental disorder, and was in
assisted living because of his mental disorder when the incident occurred. Mr. Ravenell filed a
not criminally responsible (insanity) plea on Russell’s behalf, and also developed a self-defense
defense. Based on his investigation and advocacy, Mr. Ravenell was able to convince the state
prosecutor to dismiss the murder charges in favor of manslaughter plea agreement, under which
instead of prison time, Russell was sentenced to five years of probation under the supervision of a




11
        See Jessica Anderson, “Charges against Walter Lomax dropped in 1968 murder case,”
Baltimore Sun, April 2, 2014, available at: https://www.baltimoresun.com/news/crime/bs-xpm-
2014-04-02-bs-md-ci-lomax-case-20140402-story.html.
12
        See, e.g., Bryan Stole, “Maryland officials approve compensation for wrongly convicted
Baltimore man. For others exonerated, law change will make claims easier,” Baltimore Sun, April
21,     2021,      available   at:    https://www.baltimoresun.com/politics/bs-md-pol-exoneree-
compensation-20210422-imkyp667jnhvdaihptq3ua442q-story.html.
13
        See Justin Fenton and Alison Knezevich, “Son of Baltimore police commander charged in
killing,”       Baltimore          Sun,       Sept.      1,      2015,        available     at:
https://www.baltimoresun.com/maryland/baltimore-city/bs-md-ci-russell-son-arrested-
20150901-story.html.
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mental health court. 14 The mental health court is supervised by Judge Gail Raisin whom this Court
heard testify on behalf of Treem.

       Russell thrived under probation. He recently graduated from probation/mental health
court. He is now pursuing his passion—stage acting. A letter from Russell’s father discussing
how Mr. Ravenell changed the trajectory of his son’s life is attached to this memorandum as
Exhibit 10.

       State of Maryland v. Kwame Rose (District Court of Maryland for Baltimore City &
       Baltimore City Circuit Court).

         In 2015, Kwame Rose participated in lawful protest concerning the 2015 death in police
custody of Baltimore resident Freddie Gray. Based entirely on his participation in a lawful protest,
Rose was charged with disorderly conduct, disturbing the peace, and failure to obey a lawful order.
                                                           Mr. Ravenell, working as a pro bono
                                                           cooperating attorney with the American
                                                           Civil Liberties Union (“ACLU”),
                                                           represented Rose in state court. Mr.
                                                           Ravenell served as trial counsel. At trial,
                                                           the judge acquitted Rose of all charges
                                                           except the failure to obey. Mr. Ravenell
                                                           stayed with the case for the appeal.
                                                           Thanks to Mr. Ravenell’s written and
                                                           oral advocacy, the circuit court granted
                                                           the defense’s motion to dismiss the
                                                           failure to obey charge. The circuit court
                                                           held that the order Rose and others were
                                                           given, which prohibited the use of
Figure 2 - From left, Mr. Ravenell, Kwame Rose, and ACLU
Senior Staff Attorney David Rocah.                         amplified sound outside of the
                                                           courthouse, was unconstitutionally
                                                           overbroad and violated Rose’s First
                       15
Amendment rights.           A character letter from Rose, and a letter from the ACLU about Mr.
Ravenell’s work on the case, are attached to this memorandum as Exhibits 14 and 12, respectively.

       These highlights provide merely a glimpse into Mr. Ravenell’s impactful career as an
attorney, and why in 2009 he was inducted into the American College of Trial Lawyers, the
preeminent organization of trial lawyers that is invitation only. As the Court will recall, Mr. Paul
Bekman, who vetted Mr. Ravenell’s candidacy for the organization by speaking to many lawyers

14
        See Justin Fenton, “Son of Baltimore police commander gets mental health treatment for
fatal     stabbing,”     Baltimore      Sun,     Dec.     21,      2016,      available      here:
https://www.baltimoresun.com/news/crime/bs-md-ci-russell-guilty-plea-20161221-story.html.
15
        See Kevin Rector, “Final charge dismissed from activist’s arrest during protest in Freddie
Gray       case,”      Baltimore      Sun,      Sept.     20,       2016,       available      at:
https://www.baltimoresun.com/maryland/baltimore-city/bs-md-ci-kwame-cleared-20160920-
story.html.
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and judges who have interacted with Mr. Ravenell, testified at trial. Mr. Beckman testified that
Mr. Ravenell’s reputation in the legal community “was in a word, superlative.” Trial Tr. 18:4,
Dec. 20, 2021 (Bekman & White).

        Without question, Mr. Ravenell is well-respected and held in high esteem by his peers in
the legal community and by members of the judiciary. As a result of this respect and high esteem,
Mr. Ravenell was named a permanent member of the Judicial Conference of the Fourth Circuit.
See Trial Tr. 50:10-51:6, Dec. 17, 2021 (Judge Davis & Outlaw). Mr. Ravenell earned his
conference membership by being invited twice to the conference (and attending twice) by the
Honorable William D. Quarles Jr. (now retired) of the United States District Court for the District
of Maryland.

      Neither the federal prosecution or the conviction in this case has diminished the respect
Mr. Ravenell garners in the legal community, nor the high esteem in which he is held in the
community. Before, during, and after Mr. Ravenell’s trial, there has been an outpouring of support
from fellow attorneys, judges, current and former clients, and other members of the legal
community of Maryland and beyond.

        For instance, as the Court will recall, one of the most-respected jurists in Maryland, the
Honorable Andre M. Davis, who retired from the Fourth Circuit Court of Appeals after a
distinguished career, testified on Mr. Ravenell’s behalf during the trial. Judge Davis stated: “Mr.
Ravenell is a person of unquestioned good character. He is a professional in every sense of the
word. He’s diligent. He’s smart. He’s a person of integrity.” See id. at 49:20-23. Judge Davis
also testified that: “[Mr. Ravenell] has the respect of judges and other lawyers and he has really
manifested in my view, over the course of his career, just everything we want in a legal
professional.” Id. at 49:23-25. Finally, Judge Davis noted that: “[Mr. Ravenell’s] reputation in
the community is one of excellence, commitment, dedication, hard work and integrity. And this
is—my source for this view comes not just from the many lawyers who know Mr. Ravenell with
whom I’ve interacted, of course it comes from my own observations.” Id. at 50:6-10.

       The Court also heard from another highly respected Maryland jurist: the Honorable Joseph
F Murphy, Jr., former Chief Judge of the Court of Special Appeals, and a former member of
Maryland’s highest court, the Court of Appeals, and the Circuit Court for Baltimore County.
Judge Murphy testified that Mr. Ravenell “has a very fine and excellent character for truthfulness
[and] candor, and candor to the tribunal.” See Trial Tr. 42:13-14, Dec. 17, 2021 (Judge Murphy
& Outlaw).

        Accompanying this memorandum are 37 sentencing character letters submitted by lawyers
who know Mr. Ravenell, have worked with Ravenell, and have observed Mr. Ravenell practice as
an attorney. 16 Exhs. 11-12, 19, 52-58, 60-86. While each letter author has a unique relationship
and history with Mr. Ravenell, a common thread throughout the letters is the high regard for Mr.

16
         Most of these letters were submitted to the Maryland Court of Appeals in support of Mr.
Ravenell’s effort to retain his law license. As discussed later, Maryland’s Office of Bar Counsel
filed a petition seeking the suspension of Mr. Ravenell’s law license as a result of the conviction
in this case.
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Ravenell’s outstanding character, unquestionable integrity, unparalleled work ethic, and legal
acumen. For example:

           •   “Simply put, we know Mr. Ravenell to be an attorney of extraordinary ability,
               integrity, and dedication to the public good, who is a credit to the Maryland bar.”
               Exh. 12 (Attorneys and staff members of the ACLU of Maryland).
           •   “I have always viewed Mr. Ravenell as a shining example of professionalism and
               a man of integrity.” Exh. 64 (Alan C. Cason, Esq.).
           •   “He has always been a person of high moral character and honesty.” Exh. 65
               (David B. Irwin, Esq.).
           •   “In my opinion, Kenneth Ravenell represents the qualities for which we as attorneys
               strive: honesty, integrity, intelligence, preparedness, friendly, and guided by a
               strong belief in justice for all.” Exh. 54 (Howard L. Cardin, Esq.).
           •   “He has always maintained the highest degree of integrity. His character is beyond
               reproach.” Exh. 55 (Andrew White, Esq.).
           •   “I, and other members of the Commission [Judicial Nomination Commission], have
               always found him to be of the utmost integrity. Ken is a very knowledgeable
               attorney, who is well regarded in our legal community.” Exh. 66 (David J. Ralph,
               Esq.).
           •   “Judges, fellow defense attorneys, and prosecutors have great respect for his
               trustworthiness, ethics and skills as a lawyer as evidenced by the array of judges,
               federal and state, and prosecutors who appeared as character witnesses at his trial
               to attest to his stellar character and his glowing reputation as a defender of the
               accused.” Exh. 19 (Michael E. Kaminkow, Esq.).
           •   “When we handled cases together Ken has never suggested anything that was not
               legally or ethically appropriate or in the best interest of his clients.” Exh. 72 (Larry
               Allen Nathans, Esq.).
           •   “I met him in law school and have maintained a constant friendship with him since
               then. I have also followed closely his professional career. I know how hard he has
               worked to earn and maintain his sterling professional reputation. I can say without
               any reservation whatsoever that Ken is one of the finest people and attorneys I have
               had the pleasure of knowing.” Exh. 74 (Ronald Cherry, Esq.).
           •   “I have known Mr. Ravenell for over twenty (20) years. . . . In my opinion Mr.
               Ravenell has always conducted himself with honesty and integrity. I have never
               known him to practice law in any other way.” Exh. 76 (James J. Gitomer, Esq.).

        These excerpts are just a sample taken from the numerous attached character letters
attesting to the character of Mr. Ravenell. Individually and collectively, the letters reflect the wide
and deep well of respect and admiration that Mr. Ravenell has earned within the legal community
over the course of his multi-decade career as an attorney and which continues even after this
conviction.
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        It would be a mistake to assume or believe that Mr. Ravenell’s contributions and impact
are limited to the legal community. In keeping with the “give back” spirit in which he was raised,
Mr. Ravenell has continually used his experience, means, and stature to improve the communities
that are a part of his life journey. To honor his parents and simultaneously help the community of
his childhood, Mr. Ravenell established the Reverend Francis and Daisy Ravenell Educational
Scholarship for young members of childhood church. Exh. 29 (Letter of Cealie Ravenell-
Williams). As his sister Claretha explains in her attached letter to the Court, Mr. Ravenell has
made tremendous efforts to “decrease the educational barriers” that the indigent, particularly the
black residents hampered by the region’s sharecropping history, face in rural South Carolina. Exh.
25 (Letter of Claretha Ravenell-Eaddy). His efforts include mentoring “countless local youths
who have an interest in a law career” and providing “free legal advice to many people” in the
community of his childhood. Id. As succinctly put by his sister Claretha: “No matter how
successful Ken became, he is always willing to help others, whether a stranger, a community
member, or a family member.” Id.

        The only thing surpassing Mr. Ravenell’s dedication to improving to his community, is
Mr. Ravenell’s dedication to his family. Attached to this memorandum are letters of support from
Mr. Ravenell’s siblings. Exhs. 20, 22, 24-30, 42. Without exception, the letters explain Mr.
Ravenell’s complete dedication to his family, and how he has used his success to improve the lives
of his family and to open doors of opportunity for them. For instance, his sister Cealie explains
how Mr. Ravenell used money he earned from a job he held while attending college to support his
sister Doris who was also attending college. Exh. 29 (Letter of Cealie Ravenell-Williams).

        In sum, when the life of Mr. Ravenell, as reflected in the letters accompanying this
memorandum, is balanced against the limited and narrow conduct that the jury found crossed a
legal line, the natural conclusion is that the conduct underlying the conviction was an aberration.
Indeed, the accepting of drug proceeds from Bailey/Harris was one small misstep in the millions
of lawful and praise-inducing steps that Mr. Ravenell has taken as an attorney during his long
career. See U.S.S.C. § 5K2.20 (allowing for downward departure for criminal conduct that
“represents a marked deviation by the defendant from an otherwise law-abiding life”).

       C.      Seriousness of the Offense/Respect for Law/Just Punishment (§ 3553(a)(2)(A)).

         As discussed at length earlier, the jury rejected all of the government’s allegations against
Mr. Ravenell connected to the Byrd DTO, and convicted him solely for knowingly accepting drug
proceeds from Bailey as compensation for the legitimate and proper legal services that Mr.
Ravenell provided to Harris. The jury’s finding that Mr. Ravenell’s acceptance of drug proceeds
was the criminal conduct here, and not anything that Mr. Ravenell did in return for the proceeds is
critical to defining the context and boundary in weighing the seriousness of this offense and the
just punishment here.

        Within this context and boundary, a probationary sentence certainly satisfies this § 3553(a)
factor. Mr. Ravenell’s criminal conduct, as found by the jury, did not aid or facilitate the Harris
DTO or drug trafficking activity. Moreover, Mr. Ravenell did not use the drug proceeds he
received to assist, aid, or further the Harris DTO. Indeed, critical in weighing this factor, is that
the problematic proceeds Mr. Ravenell received were compensation for legitimate legal services
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that Mr. Ravenell provided to Harris. There is no allegation or proof that Harris paid Mr. Ravenell
for “consigliere” type services the government accused (but failed to prove) regarding the Byrd
DTO. Mr. Ravenell was paid for representing Harris in a criminal case, and there is no suggestion
that Mr. Ravenell did anything improper, unethical, or unlawful in representing Harris. A sentence
of incarceration, therefore, is not needed or warranted by this factor. A sentence of probation
would sufficiently reflect the seriousness of Mr. Ravenell’s offense in accepting $55,000 17 in drug
proceeds for legitimate legal services, demonstrate respect for the law, and adequately punish Mr.
Ravenell.

        Finally, the devastating impact of this conviction on Mr. Ravenell’s legal career cannot be
overstated, and lone constitutes a harsh punishment. As a result of his conviction, on January 11,
2022, the Maryland’s Office of Bar Counsel, on behalf of the state’s Attorney Grievance
Committee, filed a petition seeking the suspension of Mr. Ravenell’s law license. The petition
initiated a legal process (now ongoing) that may end with Mr. Ravenell losing his law license, and
thereby ending his distinguished career as an attorney. Mr. Ravenell faces an unceremonious end
to a dream he has had his entire life. See Exh. 25 (Letter of Claretha Ravenell-Eaddy) (“Ken
always wanted to become a lawyer; he wanted to help people.”); Exh. 42 (Letter of John Ravenell)
(“Ken told me at any early age he would love to become a lawyer.”). Mr. Ravenell has dedicated
countless hours to achieving and living his dream. This dream may not only end due to this case
and conviction, but it could end with a fall from grace and with Mr. Ravenell never again holding
the stature and standing in the community he had prior to his conviction. In many ways, Mr.
Ravenell will suffer a “civil death” as a result of his conviction. See United States v. Nesbeth, 188
F.Supp.3d 179, 179-83 (E.D.N.Y. 2016) (discussing the collateral consequences of a conviction
and how they can result in a defendant’s “civil death”). The loss of his legal career and his fall in
the community are great punishments that should factor into the Court’s § 3553(a) analysis. See
United States v. Pauley, 511 F.3d 468, 474-75 (4th Cir. 2007) (holding it was proper for sentencing
court to apply a 36-month downward departure because the child pornography defendant lost his
teaching certificate and his state pension as a result of his conviction); see also Nesbeth, 188
F.Supp.3d 179 (imposing one-year probation sentence for drug trafficking defendant in large part
because the defendant would suffer a “civil death” because of the conviction).

       D.      General Deterrence (§ 3553(a)(2)(B)).

       A sentence of incarceration is not needed for general deterrence purposes. As the Court
observed and experienced, Mr. Ravenell’s case garnered tremendous attention from the legal
community within and outside of Maryland. Lawyers, particularly those practicing in Maryland,
followed the case closely due to its implications and consequences for practicing criminal defense
attorneys. Indeed, the eyes and ears of the legal community, particularly the Maryland legal
community, remain fixated on this case.

        A sentence of incarceration is not needed to send the legal community the message that
lawyers must not accept payment for their services knowing that the payment is drug trafficking
proceeds. The collateral consequences of this case alone have communicated a strong and
effective deterrent message. The raiding by federal agents of Mr. Ravenell’s offices and the office

17
       See discussion supra at Part IV(A) (pgs. 10-11).
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of his attorney (Josh Treem of Schulman Treem), the cloud of the investigation and prosecution
that has harmed and diminished Mr. Ravenell’s legal career and ability to earn a living, the stain
of conviction, and the current efforts to take away Mr. Ravenell’s law license, are consequences
that the legal community is now well-aware will follow if anyone repeats Mr. Ravenell’s misstep
in accepting drug proceeds as payment for legitimate legal services. A sentence of probation would
not undermine this message of deterrence, and more punishment (specifically a carceral sentence)
is not needed for the message to be heard and taken seriously by the legal community.

       E.      Specific Deterrence & Need to Protect the Public From Mr. Ravenell
               (§ 3553(a)(2)B)).

         Mr. Ravenell has never previously been charged with or convicted of any crime, and has
zero (0) criminal history points. PSR ¶ 54. As reflected in the letters of support accompanying
this letter, and in the discussion above, Mr. Ravenell has dedicated his life to helping people and
his community, not harming it. There is no reason to believe that Mr. Ravenell now or in the future
presents a danger to the public. Specific deterrence is not an issue here, and not needed. Therefore,
a term of imprisonment is not needed for specific deterrence or to protect the public from Mr.
Ravenell. A term of probation fully satisfies this § 3553(a) factor.

       F.      Provision of Efficient Medical Care, Vocational Training, and Education
               (§ 3553(a)(2)(D)).

       This factor weighs heavily against a sentence involving incarceration. Mr. Ravenell is in
no need of vocational training or education that could be provided during a term of incarceration.

        That said, the Court should not forget another important fact when weighing this factor—
that the COVID pandemic is still ongoing. While the last few months have seen the lifting and
loosing of pandemic restrictions and mandates as death rates fall, infection rates are beginning to
surge again as new variants make their way across the country. 18 As we have seen throughout the
pandemic, prisons are particularly vulnerable to COVID complications due to the close
confinement of inmates and prison staff and the inability of prison medical personnel to effectively




18
        See, e.g., Mary Kekatos, “COVID-19 cases are rising in Northeast partly fueled by BA.2,
experts      say,”    ABC     News     Online,     April     11,     2022,      available   at:
https://abcnews.go.com/Health/covid-19-cases-rising-northeast-partly-fueled-
ba2/story?id=84011868; “Covid News: New Omicron Subvariants Spreading Fast in New York,”
New           York       Times,      April         13,        2022,          available      at:
https://www.nytimes.com/live/2022/04/13/world/covid-19-mandates-cases-vaccine.
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prevent and contain the spread of the virus within prisons. 19 According to the federal Bureau of
Prisons, to date 294 inmates and seven BOP staff members have died as a result of COVID. 20

        Mr. Ravenell is particularly susceptible to COVID-related complication, even though he is
fully vaccinated. First, Mr. Ravenell’s age (62) makes him particularly vulnerable to the health
and life threatening complications of COVID. 21 As the Center for Disease Control and Prevention
(“CDC”) maintains:

               Older adults are more likely to get very sick from COVID-19.
               Getting very sick means that older adults with COVID-19 might
               need hospitalization, intensive care, or a ventilator to help them
               breathe, or they might even die. The risk increases for people
               in their 50s and increases in 60s, 70s, and 80s. People 85 and older
               are the most likely to get very sick. 22

        In addition to his age, Mr. Ravenell suffers from pre-existing conditions that make him, as
confirmed by his doctor, particularly vulnerable to COVID-caused serious injury and death. Exh.
8 (Letter from Dr. Richard Berg).

       The reality of the danger poses to Mr. Ravenell cannot be ignored, and further supports the
Court imposing a non-carceral sentence in this case.

       G.      Avoiding Unwarranted Sentencing Disparities (§ 3553(a)(6)).

        The Court is required to consider and impose a sentence that avoids sentencing disparities
among similarly situated federal defendants, and the failure to do so is grounds for Mr. Ravenell’s
sentence to be vacated in the future. See United States v. Clark, 434 F.3d 684, 687-688 (4th Cir.
2006). This subsection discusses a District of Maryland case involving an attorney who was
convicted of conduct involving the handling of a client’s drugs proceeds: United States v. Farrell.
This case is instructive for Mr. Ravenell’s sentencing, and is particularly important for the Court
in weighing § 3553(a)’s disparity factor. This case heavily supports and justifies Mr. Ravenell
receiving a probationary sentence.



19
        See, e.g., Meg Anderson and Huo Jingnan, “As Covid spread in federal prisons, many at-
risk inmates tried and failed to get out,” NPR.org, March 2, 2022, available at:
https://www.npr.org/2022/03/07/1083983516/as-covid-spread-in-federal-prisons-many-at-risk-
inmates-tried-and-failed-to-get-; Katie Park, “A Half-Million People Got COVID-19 in Prison,
Are Officials Ready for the Next Pandemic,” The Marshall Project, June 30, 2021, available at:
https://www.themarshallproject.org/2021/06/30/a-half-million-people-got-covid-19-in-prison-
are-officials-ready-for-the-next-pandemic.
20
        See https://www.bop.gov/coronavirus/.
21
        See CDC.gov, “COVID-19 Risks and Vaccine Information for Older Adults,” available at:
https://www.cdc.gov/aging/covid19/covid19-older-adults.html.
22
        Id. (emphasis in original).
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           United States v. James M. Farrell (15-cr-562-RWT/DKC (D.Md.)).

        In October 2015, James Farrell, an attorney, was indicted for one count of money
laundering conspiracy, six substantive money laundering counts, and five obstruction-related
counts (witness tampering and tampering with an official proceeding). Case No. 15-562, Dkt. No.
1 (Indictment). In short, Farrell was charged with using his status as an attorney to criminally
assist a drug organization (“the Nicka Organization”) responsible for distributing thousands of
pounds of marijuana around the country (including Maryland) by laundering drug proceeds,
directing drug proceeds to lawyers representing members of the Nicka Organization, structuring
drug proceed transactions in ways to avoid IRS scrutiny, and arranging and paying witnesses to
provide misleading information to federal investigators and grand juries about the Nicka
Organization. Id. Farrell was charged with providing his unlawful assistance for multiple years—
from the start of 2009 and continuing through at least April 2013. Id. at 4.

        Farrell went to trial and was convicted of 10 of the 12 charged counts—all seven of the
money laundering related counts, and three of the obstruction counts. Case No.15-562, Dkt. No.
110 (Verdict Form). The Court’s Guidelines recommendation in Farrell (based on the probation
officer’s assessment) was offense level 30, criminal history category 1, which produced a
recommended range of sentence of 97 to 121 months on each count. See July 17, 2017, Sentencing
Hr’g Tr. at 155:25-156:8, 163:12-13, United States v. Farrell, No. 8:15-cr-00562-RWT (D. Md.
Oct. 3, 2017) (Dkt. 176). The probation officer recommended 97 months, and the judge ultimately
imposed 42 months. Id.

        The gap between Mr. Ravenell’s conviction conduct and Farrell’s is vast, long, and wide.
For starters, there is the duration of the criminal conduct as found by the two respective juries.
Farrell was found guilty of participating in a criminal conspiracy for four years (2009 through
April 2013). In stark contrast, Mr. Ravenell was convicted of criminal conduct that consisted of
three or four interactions during 2014 where Mr. Ravenell accepted from Bailey payments for
Harris’ legal services. See Second Superseding Indictment at 14 (Dkt. No. 281) (titled “A.B. Gave
Ravenell Narcotics Proceeds to Represent L.H.”). Mr. Ravenell’s sentence should reflect this large
duration gap. Given Ferrell’s sentence of 42 months of imprisonment, a probation sentence here
would properly and sufficiently reflect the duration gap.

        There is also a large gap in the criminal conduct as found by the respective juries. Farrell
was convicted of conspiring with a drug organization that was responsible for trafficking thousands
of pounds of drugs around the entire country, and serving as the “consigliere” of the drug
organization by helping the organization avoid detection and prosecution by law enforcement, and
structuring the organizations financial transactions to avoid IRS scrutiny. Exh. 9 (DOJ Press
Release of July 18, 2017 stating that “Defense Attorney [Farrell] was Consiglieri for Drug
Organization”). Indeed, according to the Fourth Circuit, Farrell’s 15-day trial firmly established
the following laundry list of criminal conduct by Farrell:

       •   That from at least 2009 to 2012, Farrell received thousands of dollars in cash
           from Nicka and the Organization;
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     •   Farrell obtained and distributed cash from the defense fund created and
         controlled by Nicka— and funded by the Organization’s drug dealers—for use
         in defending Nicka and the Organization and seeking to maintain the
         Organization’s collapsed defense;
     •   Farrell knew “everything” about the Nicka Organization, including that Nicka
         and the Organization’s drug dealers made large sums of cash money from
         marijuana trafficking;
     •   That Farrell falsified his law firm’s financial records regarding its receipt of
         defense fund cash from Nicka and the Organization;
     •   Farrell advised Forman that he maintained constant contact with the
         Organization’s drug dealers who had been prosecuted in the Maryland federal
         case, as well as their lawyers;
     •   Farrell explained to [government witness] that his role with Nicka and the
         Organization was to ”protect the family, the group of us,” referring to the
         Organization coconspirators;
     •   Farrell advised Organization drug dealer Sharpeta that he should take “a
         vacation somewhere” because Sharpeta’s name had been mentioned to the
         federal grand jury investigating the Organization;
     •   At the direction of an Organization member, Mitchell and Constantinides
         travelled from Annapolis to Farrell’s Philadelphia office, where Farrell—who
         had never met those drug dealers—gave them cash;
     •   Farrell used the defense fund to pay [a lawyer] Brown $2,500 to represent Amy
         Mitchell and asked Brown to keep her from testifying before the federal grand
         jury;
     •   Farrell thereafter obtained money from the defense fund to pay Brown another
         $5,000 and asked Brown to represent an Organization drug dealer;
     •   Farrell paid lawyer Tully $2,500 from the defense fund to represent
         Constantinides;
     •   That Farrell told drug dealer Harryman that his legal fees were “being taken
         care of,” after Harryman’s lawyer had received $9,000;
     •   That Farrell threatened Harryman and directed that he adhere to the collapsed
         defense of the Organization, in order to protect Nicka and the Organization;
     •   That Farrell used defense fund cash to purchase money orders and then
         deposited them into Phillips’s jail commissary account;
     •   Farrell paid lawyer Henry to represent Organization drug dealer Phillips;
     •   That Farrell directed drug dealer Forman to write a check to Farrell for $10,000
         and exchange the check with Farrell for $10,000 in cash, in order that Farrell
         could falsely “show on the books” that he had been paid by Forman; and
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       •   That Farrell received $19,800 in defense fund cash from Nicka and the
           Organization and delivered that cash to Forman for legal fees.

United States v. Farrell, 921 F.3d 116, 137-39 (4th Cir 2019).

        Based on these facts revealed during Farrell’s trial, the Fourth Circuit was “entirely
satisfied” that Farrell’s conviction was “sufficiently supported.” Id. at 138. The appellate court
stressed that the trial firmly established that Farrell “went well beyond [providing legal advice]
and took steps to extensively involve himself in the alleged offenses” and “performed his roles as
consigliere and fixer [to the drug organization] in multiple ways,” id. at 139, including obstructing
justice on numerous occasions, id. at 141-42.

       The jury in this case did not find similar facts nor similar conduct by Mr. Ravenell—not
even close. The jury rejected the government’s case and the counts alleging conduct by Mr.
Ravenell that mirrors the allegations and conduct that the Farrell jury found in convicting Farrell
(and endorsed by the Fourth Circuit). Indeed, the jury’s verdict was a complete rejection of the
government’s effort to portray Mr. Ravenell as the “consigliere” of the Byrd organization.

          Instead, the jury here determined that Mr. Ravenell’s conduct was extremely limited in
comparison to Farrell’s. The jury found that Mr. Ravenell knowingly accepted drug proceeds as
payment for the lawful and legitimate legal services that he provided to Harris. There was no
allegation, and no proof offered at trial, that Mr. Ravenell counseled Harris on how to operate his
drug business, how to avoid law enforcement detection and prosecution, or how to launder his
drug proceeds. And there was no allegation or proof that Mr. Ravenell engaged in any obstruction
of justice activity to benefit Harris or his drug operation. As Harris testified at trial, he paid Mr.
Ravenell to represent him in his criminal case pending at the time. See generally Trial Tr. 175:21-
176:8, Dec. 16, 2021 (Harris & AUSA Hines); see also id. at 239:25-240:1 (Bailey & AUSA
Hines). That was the sole purpose of Harris’s payments to Mr. Ravenell. No payments from
Harris (through Bailey) to Mr. Ravenell were compensation for Mr. Ravenell providing unlawful
“consigliere” services to Harris and his drug operation. As such, there is a Grand Canyon-sized
gap between the criminal conduct found by the respective juries in Farrell’s and Mr. Ravenell’s
case. Such a gap justifies Mr. Ravenell receiving a probation sentence in comparison to Mr.
Farrell’s 42-months imprisonment sentence.

       In sum, the requested probationary sentence here is justified by the Farrell case discussed
here. Similar to the case discussed above, the instant case involves a Maryland attorney being
convicted of crossing ethical and legal lines in connection to his receipt of drug proceeds. That is
where the similarities end however. The jury convicted Mr. Ravenell of conduct that is far limited
and narrow in terms of duration, money/proceeds involved, and more importantly, scope and
involvement than what underlaid the conviction of Farrell. As such, the sentence imposed on Mr.
Ravenell needs to reflect the wide gap in the conduct when compared to the 42-month sentence
imposed on Farrell to avoid unwarranted sentencing disparities as mandated by § 3553(a)(6). A
probation sentence sufficiently satisfies the mandate of this factor.
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       H.      Kinds of Sentences Available (§ 3553(a)(3)).

       Mr. Ravenell was not convicted of an offense carrying a mandatory minimum prison
sentence. Therefore, all sentencing options are available to the Court, including alternatives to
incarceration in a federal prison, such as home confinement and probation.

        As discussed throughout this sentencing memorandum, a sentence of incarceration is not
warranted by the conduct underlying the single count of conviction as found by the jury. As
discussed above, a sentence of incarceration is not called for by any § 3553(a) factor. Indeed, a
careful and unemotional consideration of the factors leads to the conclusion that a non-carceral
options is not only justified in this case, but warranted.

        The Court is able to structure and impose a non-carceral sentencing option that satisfies
§ 3553(a). A sentence of probation, which may or may not include a period of home confinement,
would protect the public, afford adequate general and specific deterrence, sufficiently punish Mr.
Ravenell, and promote respect for the law without being overly punitive (which a sentence of
incarceration would be). Indeed, probation would satisfy the court’s responsibility of fashioning
a sentence that is “sufficient but not greater than necessary to comply with” § 3553(a). 18 U.S.C.
§ 3553(a).

VI.    Conclusion

        For the reason explained herein and at sentencing, the sentences recommended by the PSR
and the government are both illegal and far greater than necessary to satisfy § 3553(a). Both
recommendations are based on factual allegations rejected by the jury and not reflected in the
jury’s verdict. Both recommendations are efforts to have the Court impose a harsh carceral
sentence that is not warranted nor deserved based on the jury’s verdict. The jury convicted Mr.
Ravenell of knowingly accepting $55,000 in drug proceeds in payment for the legitimate legal
services he provided Harris, and nothing more.

        Mr. Ravenell’s limited and aberrant criminal conduct as found by the jury stands in stark
contrast to the vast remainder of Mr. Ravenell’s law-abiding life and his impressive and impactful
legal career. It also stands in contrast to the other lawyers—Farrell and Blair—who were convicted
in the District of Maryland for far more egregious conduct. No § 3553(a) factor would be served
by Mr. Ravenell’s incarceration. The public will certainly not be better served or protected by his
incarceration. Therefore, we respectfully request that the Court impose a sentence of two years of
probation.



                                                 Sincerely,

                                                  /s/ Peter H. White

                                                 Peter H. White
